Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 1 of 132




                         In the Matter Of:

                        COLLEEN BEHM vs
                         MACK TRUCKS, INC.




                       KAITLYN O'NEILL
                          March 23, 2022




                                                              JA000541
          Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 2 of 132

                                      Kaitlyn O'Neill - March 23, 2022

                                                                                     1
·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · ·FOR THE EASTERN DISTRICT OF PENNSYLVANIA
·2
· · · · · · · · · · · · · · ·* * *
·3

·4·   ·COLLEEN BEHM,· · · · · · ·                   : NO. 21-2500
· ·   · · · · · · · · ·Plaintiff                    :
·5·   · · · · · · · · · · · · · ·                   :
· ·   · · · · · ·vs.· · · · · · ·                   :
·6·   · · · · · · · · · · · · · ·                   :
· ·   ·MACK TRUCKS, INC, et al.,                    :
·7·   · · · · · · · · ·Defendants                   :

·8· · · · · · · · · · · · · ·* * *

·9· · · · · · ·Zoom deposition of KAITLYN O'NEILL,

10· ·beginning at 11:00 a.m., on Wednesday, March 23,

11· ·2022, before Karen A. Stevens, Court Reporter and

12· ·Notary Public, there being remotely present:

13

14

15

16

17

18

19

20

21·   ·    ·   ·   ·   ·   ·   ·   · · · · · LEXITAS
· ·   ·    ·   ·   ·   ·   ·   ·   ·999 Old Eagle School Road
22·   ·    ·   ·   ·   ·   ·   ·   · · · · Suite 118
· ·   ·    ·   ·   ·   ·   ·   ·   · · · Wayne, PA 19087
23·   ·    ·   ·   ·   ·   ·   ·   · · · ·888-267-1200

24


      www.LexitasLegal.com/Premier                Lexitas                888-267-1200· · ·
                                                                                 JA000542   YVer1f
          Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 3 of 132

                                Kaitlyn O'Neill - March 23, 2022

                                                                               2
·1· ·A P P E A R A N C E S :

·2
· ·   ·    ·   ·   ·   GRAHAM BAIRD, ESQUIRE
·3·   ·    ·   ·   ·   LAW OFFICES OF ERIC A. SHORE
· ·   ·    ·   ·   ·   1500 J.F.K. Blvd.
·4·   ·    ·   ·   ·   Philadelphia, Pennsylvania· 19102
· ·   ·    ·   ·   ·   grahamb@ericshore.com
·5·   ·    ·   ·   ·   -- Representing the Plaintiff

·6

·7

·8·   ·    ·   ·   ·   RANDY MOODY, ESQUIRE
· ·   ·    ·   ·   ·   JACKSON LEWIS, P.C.
·9·   ·    ·   ·   ·   15 South Main Street, Suite 700
· ·   ·    ·   ·   ·   Greenville, South Carolina 29601
10·   ·    ·   ·   ·   randy.moody@jacksonlewis.com
· ·   ·    ·   ·   ·   -- Representing the Defendants
11

12

13· · · · · VIDEO TECHNICIAN: Blair Zielke

14

15

16

17

18

19

20

21

22

23

24


      www.LexitasLegal.com/Premier          Lexitas                888-267-1200· · ·
                                                                           JA000543   YVer1f
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 4 of 132

                         Kaitlyn O'Neill - March 23, 2022

                                                                          3
·1· · · · · · · · · · · · I N D E X

·2· · · · · · · · · · · · · * * *

·3· ·WITNESS:· Kaitlyn O'Neill

·4· ·QUESTIONED BY:· · · · · · · · · · · · · · · PAGE

·5· ·Mr. Baird· · · · · · · · · · · · · · · · · · ·4

·6

·7

·8· · · · · · · · · · · E X H I B I T S

·9· · · · · · · · · · · · · ·* * *

10

11· ·NUMBER· · · · · · · DESCRIPTION· · · · · · ·MK'D.

12· · · · · · · · · · ·(None marked.)

13

14

15

16

17

18

19

20

21

22

23

24


     www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                    JA000544   YVer1f
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 5 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                         4
·1· · · · · · · · ·(It is hereby stipulated by and

·2· · · · · between counsel for the respective

·3· · · · · parties that sealing, filing and

·4· · · · · certification are waived; and that all

·5· · · · · objections, except as to the form of the

·6· · · · · questions, be reserved until the time of

·7· · · · · trial.)

·8· · · · · · · · · · · · ·* * *

·9· · · · · · · · · · · ·KAITLYN O'NEILL,

10· · · · · · after having been first duly sworn, was

11· · · · · · examined and testified as follows:

12· · · · · · · · · · · · ·* * *

13· ·BY MR. BAIRD:

14· · · · Q· · Miss O'Neill.· My name is Graham Baird.            I

15· ·represent Colleen Behm in a lawsuit she filed

16· ·against Mack Trucks.· Today we are here for your

17· ·deposition.· My understanding is you were present

18· ·for Mr. Kerchner's first deposition; is that

19· ·correct?

20· · · · A· · Correct.

21· · · · Q· · Okay.· Do you need me to go through the

22· ·instructions that I gave Mr. Kerchner?

23· · · · A· · No, I don't think so.

24· · · · Q· · Okay.· Have you ever given deposition


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000545   YVer1f
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 6 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                         5
·1· ·testimony before?

·2· · · · A· · No.

·3· · · · Q· · Okay.· Have you ever testified in court

·4· ·before in a matter involving Mack Trucks?

·5· · · · A· · No.

·6· · · · Q· · Can you describe for me your educational

·7· ·background, Miss O'Neill?

·8· · · · A· · I have a high school diploma, a Bachelor's

·9· ·Degree and a Master's Degree.

10· · · · Q· · What discipline is your Bachelor's Degree

11· ·in?

12· · · · A· · Business Administration.

13· · · · Q· · Where did you obtain that degree?

14· · · · A· · Penn State University.

15· · · · Q· · In State College?

16· · · · A· · No.· At the Berks Campus.

17· · · · Q· · Okay.· When did you get that degree?

18· · · · A· · I graduated in 2011.

19· · · · Q· · Where did you obtain your Master's Degree?

20· · · · A· · Also Penn State University, World Campus.

21· · · · Q· · When did you obtain that Master's Degree?

22· · · · A· · I believe I finished that program in 2015.

23· · · · Q· · That's one instruction that I'll give to

24· ·you.· We don't want you to guess, but if you feel


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000546   YVer1f
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 7 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                         6
·1· ·comfortable making an estimate as to time or

·2· ·distance or, you know, something of that nature,

·3· ·that's fine.· Okay?· Just let me know you're making

·4· ·an estimate.· Okay?

·5· · · · A· · Yes, okay.

·6· · · · Q· · I have the feeling you're making somewhat

·7· ·of an estimate on that 2015 year, correct?

·8· · · · A· · Correct, yes.

·9· · · · Q· · What discipline is that Master's Degree

10· ·in?

11· · · · A· · Organizational Development and Change.

12· · · · Q· · Do you have any other certifications?

13· · · · A· · I do.· I have a labor certification, a

14· ·human resources certification and I am pending a

15· ·diversity and inclusion certification.

16· · · · Q· · Where did you obtain the HR certification

17· ·from?

18· · · · A· · Michigan State University.

19· · · · Q· · When did you get that?

20· · · · A· · That was completed in 2020.

21· · · · Q· · Tell me about that certification.· What

22· ·did you need to do to obtain that?

23· · · · A· · It was online learning and there was a

24· ·roughly eight-week program and every week there was


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000547   YVer1f
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 8 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                         7
·1· ·learning and testing on it.· And then there was a

·2· ·final exam as well to pass to get the certificate.

·3· · · · Q· · Do you remember when you took that final

·4· ·test to obtain that certification?

·5· · · · A· · I do not.

·6· · · · Q· · Do you know, is there a specific or proper

·7· ·name for that certification?

·8· · · · A· · Certified Human Resources Specialist.

·9· · · · Q· · Are you currently employed?

10· · · · A· · Yes.

11· · · · Q· · Who do you work for?

12· · · · A· · Mack Trucks.

13· · · · Q· · How long have you worked for Mack Trucks?

14· · · · A· · This will be year five.· I started in

15· ·November of 2017.

16· · · · Q· · When you were first hired by Mack Trucks

17· ·in November of 2017 what was your position?

18· · · · A· · I was hired as an HR coordinator.

19· · · · Q· · What does an HR coordinator do?· What did

20· ·an HR coordinator do at the time you were hired?

21· · · · A· · I supported the HR business partners, I

22· ·would yield employee questions, run reports,

23· ·paperwork, multiple things.· But mostly roles that

24· ·would support anything that the HR director or HR


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000548   YVer1f
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 9 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                         8
·1· ·business partners or labor manager may need.

·2· · · · Q· · Have you held any other positions with

·3· ·Mack Trucks?

·4· · · · A· · Just my current role of HR business

·5· ·partner.

·6· · · · Q· · What does an HR business partner do?

·7· · · · A· · Deals with employee relations, workforce

·8· ·planning, recruitment, succession planning.

·9· ·Anything our team support would need with questions,

10· ·counseling, anything along those lines.· It's very

11· ·broad.

12· · · · Q· · Is there a specific location or department

13· ·where you're assigned as the business partner?

14· · · · A· · I currently am supporting our IT group,

15· ·our production quality group, vehicle one finish,

16· ·both first and second shift, I support our final

17· ·department, all three shifts, Mack defense and CAC.

18· · · · Q· · What is Mack defense?

19· · · · A· · That is our facility that is building

20· ·trucks for the military.

21· · · · Q· · What is CRC?

22· · · · A· · CAC.

23· · · · Q· · I'm sorry.

24· · · · A· · It's customer adaptation center.


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000549   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 10 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                         9
·1· · · · Q· · What's that center do?

·2· · · · A· · It's a very small group that does special

·3· ·work on trucks for very specific items that

·4· ·customers have requested.

·5· · · · Q· · How many other business partners share the

·6· ·assignment that you are currently assigned to?

·7· · · · A· · Do you mean in the groups that I

·8· ·specifically support?

·9· · · · Q· · Yes.

10· · · · A· · It is just me.· The other HR business

11· ·partners have other groups.

12· · · · Q· · How many employees are you currently

13· ·supporting, give or take?

14· · · · A· · It has to be close -- I'm going to

15· ·estimate anywhere between possibly 800 to a thousand

16· ·right now.

17· · · · Q· · Do you have any assistants?

18· · · · A· · No.

19· · · · Q· · There are no HR coordinators who support

20· ·you?

21· · · · A· · No.

22· · · · Q· · Who do you report to?

23· · · · A· · The HR director, Tim Newman.

24· · · · Q· · Do you have an office?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000550   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 11 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     10
·1· · · · A· · I share an open concept space with my

·2· ·peers.

·3· · · · Q· · Okay.· Your peers are the other business

·4· ·partners; is that right?

·5· · · · A· · Correct.

·6· · · · Q· · Where is that open concept shared space

·7· ·located?

·8· · · · A· · It is in the front of the Macungie

·9· ·facility on the first floor.

10· · · · Q· · Are you responsible for fielding

11· ·complaints of sexual harassment?

12· · · · A· · Yes.

13· · · · Q· · Have you ever fielded a complaint of

14· ·sexual harassment directly from an employee?

15· · · · A· · Yes.

16· · · · Q· · Have you ever fielded a complaint of

17· ·sexual harassment from a union rep speaking on

18· ·behalf of an employee?

19· · · · A· · Yes.

20· · · · Q· · How many times have you fielded a sexual

21· ·harassment complaint directly from an employee, not

22· ·through their union rep?

23· · · · A· · To be honest, I don't know that I have a

24· ·number on that.· I would really have to dig through


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000551   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 12 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     11
·1· ·notes or files.· I don't have a number.

·2· · · · Q· · But there would be a way to find that out

·3· ·if you were requested to do so?

·4· · · · A· · Yes.

·5· · · · Q· · Okay.· Sitting here today, if you can't

·6· ·make an estimate, that's perfectly fine, just let me

·7· ·know.· But sitting here today would you say that has

·8· ·happened to you more than 10 times?

·9· · · · A· · I honestly cannot say.

10· · · · Q· · Same questions as to someone complaining

11· ·through their union rep.· Can you say how many times

12· ·you have fielded sexual harassment complaints from a

13· ·union rep speaking on behalf of someone else to you?

14· · · · A· · That I would say would be the more

15· ·frequent process.· It's more frequent to come from

16· ·the supervisor or the union rep.

17· · · · Q· · Okay.· Do you know how many times you have

18· ·fielded complaints or received complaints of sexual

19· ·harassment from a union rep or supervisor talking on

20· ·behalf of another employee?

21· · · · A· · Without taking time to look, I don't know

22· ·the number.

23· · · · Q· · Did Miss Colleen Behm ever make a

24· ·complaint directly to you regarding sexual


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000552   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 13 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     12
·1· ·harassment?

·2· · · · A· · No, she did not.

·3· · · · Q· · Did Miss Behm ever make a complaint of

·4· ·sexual harassment through her union rep, to your

·5· ·knowledge?

·6· · · · A· · Not to my knowledge.

·7· · · · Q· · It's my understanding given the documents

·8· ·that I've reviewed in this case that you had some

·9· ·interaction with Miss Behm during her employment

10· ·with Mack Trucks; is that right?

11· · · · A· · Correct.

12· · · · Q· · Okay.· Did Miss Behm ever complain to you

13· ·about anything involving Cruz Rivera?

14· · · · A· · She did not.

15· · · · Q· · Has any employee at Mack Trucks ever made

16· ·any complaints to you about Cruz Rivera?

17· · · · A· · Not that I can recall.

18· · · · Q· · Do you know who Cruz Rivera is?

19· · · · A· · I do.

20· · · · Q· · Is he currently employed with Mack Trucks?

21· · · · A· · Yes, he is.

22· · · · Q· · Do you know what his role is at Mack

23· ·Trucks?

24· · · · A· · He is currently an acting union rep.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000553   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 14 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                      13
·1· · · · Q· · Does he also have another

·2· ·production-related job that he performs, to your

·3· ·knowledge?

·4· · · · A· · While they are a working union rep they do

·5· ·not perform any type of work on the line.· They are

·6· ·just strictly the rep.· So right now it would just

·7· ·be his representative role.

·8· · · · Q· · How often would you say you interact with

·9· ·Mr. Rivera in his role as a union rep?

10· · · · A· · It is almost daily.· If not, maybe twice a

11· ·week.

12· · · · Q· · Do you ever interact with Mr. Rivera

13· ·outside of work?

14· · · · A· · No.

15· · · · Q· · Have you ever interacted with Miss Behm

16· ·outside of work?

17· · · · A· · No.

18· · · · Q· · I am going to share my screen with you,

19· ·Miss O'Neill, and ask you to review some documents

20· ·and I will have some questions about these

21· ·documents.· Okay?· For each document I will identify

22· ·them by their Bates number.

23· · · · A· · Okay.

24· · · · Q· · For the purpose of the deposition.· Bear


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000554   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 15 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     14
·1· ·with me a minute.· This is a document that is marked

·2· ·as Mack 1420, 1421 and 1422.· This is a document

·3· ·that was produced by Mack Trucks for this lawsuit.

·4· ·Miss O'Neill, do you recognize this document?

·5· · · · A· · I do.

·6· · · · Q· · Can you tell me what this is?

·7· · · · A· · This is a report from an investigator that

·8· ·we had look into for Colleen.

·9· · · · Q· · Do you know who the investigator is?

10· · · · A· · This specific agent that they're referring

11· ·to, no.· The coordinator, I forget his name, but

12· ·there was one person that we spoke to about details.

13· · · · Q· · Do you know who that person is?

14· · · · A· · I am drawing a blank on his name.

15· · · · Q· · Okay.· When you used the term we, who do

16· ·you mean by we?

17· · · · A· · The company.

18· · · · Q· · Okay.· Now, did you ask that this report

19· ·be provided?

20· · · · A· · Provided for today?

21· · · · Q· · No.· Just in the course of looking into

22· ·Miss Behm did you ask for this report or ask for the

23· ·investigation?

24· · · · A· · Okay.· We had been made aware by employees


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000555   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 16 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     15
·1· ·that they believed Colleen to be engaging in

·2· ·activities outside of work while she was on a leave.

·3· ·And I asked my boss if we should proceed with

·4· ·something like this and it was approved, so we moved

·5· ·forward.

·6· · · · Q· · Okay.· And your boss is Tim Newman,

·7· ·correct?

·8· · · · A· · Correct.

·9· · · · Q· · So is it fair to say that you and Tim

10· ·Newman had discussions about whether to investigate

11· ·Miss Behm's activities while she was out on a leave?

12· · · · A· · Yes.

13· · · · Q· · Did anybody else -- was anybody else

14· ·involved in those conversations?

15· · · · A· · Possibly John Tolame, who was the labor

16· ·manager at the time, but I'm not a hundred percent

17· ·confident.

18· · · · Q· · What does a labor manager do?

19· · · · A· · They are a person that works very closely

20· ·with the union representatives.· They would be

21· ·someone present at negotiations when they happen and

22· ·they handle higher level union items, such as

23· ·grievance levels three or higher, arbitration, high

24· ·level labor items.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000556   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 17 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     16
·1· · · · Q· · What kind of information did you receive

·2· ·concerning Miss Behm's activities while she was out

·3· ·on a leave?

·4· · · · A· · It was stated that there were reports of

·5· ·her working at a strip club and, yeah, just that she

·6· ·was working at a strip club, but they weren't sure

·7· ·which one.

·8· · · · Q· · And where did that information come from?

·9· · · · A· · That information came from Kevin

10· ·Fronheiser, who was the shop chair.

11· · · · Q· · Do you know where he obtained that

12· ·information?

13· · · · A· · If my memory serves me right, from the

14· ·shop floor and that was it.

15· · · · Q· · From other employees in the shop floor?

16· · · · A· · Correct.

17· · · · Q· · Okay.· If you want, you can look at this

18· ·surveillance report.· Just tell me.· I'll do this as

19· ·best I can.· Tell me if I need to scroll up or down

20· ·so you can read it.· If you're aware of the contents

21· ·of it and you don't need to read it again to answer

22· ·questions, that's fine too.

23· · · · A· · As I look at it I believe I'm pretty

24· ·familiar with it.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000557   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 18 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     17
·1· · · · Q· · Thank you.· Did this report corroborate

·2· ·any of Mr. Fronheiser's information that he

·3· ·provided?

·4· · · · A· · Can you rephrase that for me?· I'm not

·5· ·sure I understand.

·6· · · · Q· · Well, Mr. Fronheiser informed I believe

·7· ·you -- let's start there.· Did Mr. Fronheiser tell

·8· ·you directly that Miss Behm was, according to him,

·9· ·working at a strip club?

10· · · · A· · Yes.

11· · · · Q· · Did this report that you had requested

12· ·corroborate any of that information?

13· · · · A· · We went with -- when he said that it was

14· ·reported that she was working at a strip club he

15· ·provided us what he thought was the name of it and

16· ·we provided that to the agent services.· But beyond

17· ·that we didn't have much detail and none of this was

18· ·shared with Kevin after it was done.

19· · · · Q· · Did the investigator see Miss Behm

20· ·performing any work at all outside of -- during her

21· ·leave time?

22· · · · A· · According to the report, no.

23· · · · Q· · According to the report, the agent was

24· ·parked outside of Miss Behm's home, correct?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000558   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 19 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     18
·1· · · · A· · Correct.

·2· · · · Q· · Did you ever have any other conversations

·3· ·with Mr. Fronheiser about whether Miss Behm was

·4· ·working at a strip club?

·5· · · · A· · No.

·6· · · · Q· · Do you know why Mr. Fronheiser was

·7· ·providing you with this information that he had come

·8· ·by?

·9· · · · A· · The reason or motive as to why he shared

10· ·that with me, I don't know.

11· · · · Q· · Okay.· I'll stop sharing my screen for a

12· ·moment.· Do you recall an incident where Miss Behm

13· ·was injured at work?

14· · · · A· · I heard about it afterwards when it had

15· ·been reported with medical.

16· · · · Q· · My understanding is that that injury

17· ·occurred sometime in mid May of 2019.· Does that

18· ·sound right to you?

19· · · · A· · That does sound fairly accurate, yes.

20· · · · Q· · I know that you were present for my

21· ·client's deposition where she testified that she had

22· ·hit her head working in or around one of the cabs.

23· ·Do you remember that?

24· · · · A· · Yes.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000559   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 20 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     19
·1· · · · Q· · Without getting into the medical diagnosis

·2· ·of my client, is that your understanding what had

·3· ·happened, she hit her head?

·4· · · · A· · That was what medical had stated in the

·5· ·report.

·6· · · · Q· · Okay.· Do you know whether Miss Behm had

·7· ·left work on the date that she had hit her head

·8· ·while working on the line?

·9· · · · A· · Without looking at a report or a system I

10· ·couldn't say a hundred percent.

11· · · · Q· · Okay.· Bear with me a minute.· I'm going

12· ·to share my screen again.· Miss O'Neill, I'm going

13· ·to show you a string of E-mails identified as Mack

14· ·812, 813 and 814.· You were involved in some of

15· ·those E-mails and some of these E-mails you were not

16· ·involved in.· Okay?· Let's take a look at Mack 0813.

17· ·I think what we are going to have to do is start at

18· ·the bottom of these E-mails and go up, because that

19· ·keeps them in chronological order.· I'd ask you to

20· ·take a look at this and tell me to scroll up as you

21· ·are reading.· Fair enough?

22· · · · A· · Yep.

23· · · · Q· · Thank you.

24· · · · A· · Okay, you can scroll.· Okay.· Okay.· All


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000560   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 21 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     20
·1· ·right.· Is there anything else?

·2· · · · Q· · That's it.· So if we start at the bottom

·3· ·E-mail, this is an E-mail from Diane King to you and

·4· ·Dee Markell.· Do you see that?

·5· · · · A· · Uh-huh, yes.

·6· · · · Q· · Who is Dee Markell?

·7· · · · A· · She was an HR coordinator payroll person

·8· ·for us.

·9· · · · Q· · Is she still employed by Mack Trucks?

10· · · · A· · No, she's not.

11· · · · Q· · Do you know why her employment -- she's no

12· ·longer employed with Mack Trucks?

13· · · · A· · She took a job at another facility to be

14· ·closer to family.

15· · · · Q· · Do you know when she did that?

16· · · · A· · She left in January of 2022, so just this

17· ·year.

18· · · · Q· · Okay.· This E-mail -- who is Diane King?

19· · · · A· · She works in the dispensary as an

20· ·assistant, slash, secretary I would call it.

21· · · · Q· · Is she still employed by Mack Trucks?

22· · · · A· · Yes, she is.

23· · · · Q· · Here she writes to you, I spoke with

24· ·Michelle from employee's doctor. and I'll represent


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000561   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 22 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     21
·1· ·to you that the employee we are talking about here

·2· ·is Miss Behm.· She said that Brent Calhoun filled

·3· ·out her paperwork and he initialed it.· I do see the

·4· ·initials of BC above the date.· They confirmed

·5· ·everything on their end.· Did I read that correctly?

·6· · · · A· · Yes.

·7· · · · Q· · Okay.· And if you look at the date of this

·8· ·E-mail, this is around the time when Miss Behm was

·9· ·injured and was scheduled to come back to work.

10· ·Would you agree with that?

11· · · · · · ·MR. MOODY:· Objection to form.· Did you

12· · · · hear me?

13· · · · · · ·MR. BAIRD:· Yes, we did.

14· · · · · · ·MR. MOODY:· Okay.· I wasn't sure.

15· ·BY MR. BAIRD:

16· · · · Q· · You can answer if you understand my

17· ·question, Miss O'Neill.

18· · · · A· · I would say that August of 2019 is not

19· ·when she was injured, but when she was already out

20· ·of work.

21· · · · Q· · Okay.· You are correct about that.· She

22· ·was injured in or around May of 2019, right?

23· · · · A· · Correct.

24· · · · Q· · And do you know whether Miss Behm was out


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000562   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 23 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     22
·1· ·of work for that entire period from mid May until

·2· ·August 15th?

·3· · · · A· · She would have been out on her short-term

·4· ·disability.

·5· · · · Q· · Do you know why she was out on short-term

·6· ·disability, what her injury was?

·7· · · · A· · I believe from memory she was claiming

·8· ·concussion.

·9· · · · Q· · And she was being treated by a

10· ·neurologist; is that right?

11· · · · A· · I cannot confirm or deny that.

12· · · · Q· · Okay.· Your E-mail in response to this

13· ·says, I'm curious.· How can we move ahead with

14· ·getting a second opinion done?· Do you see that?

15· · · · A· · Yes.

16· · · · Q· · Why did you want to obtain a second

17· ·opinion?

18· · · · A· · We were wondering why a concussion would

19· ·keep her out of work for such an extended time.

20· · · · Q· · Are you referring to Mack Trucks when you

21· ·say we?

22· · · · A· · Yes.

23· · · · Q· · Okay.· Then the next E-mail in response to

24· ·yours is from Gloria Pesola.· Can you tell me who


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000563   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 24 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     23
·1· ·that is?

·2· · · · A· · She -- I would call her our Workers' Comp

·3· ·case manager.

·4· · · · Q· · Did Miss Behm make a Workers' Compensation

·5· ·claim associated with her concussion?

·6· · · · A· · When she reported to medical stating that

·7· ·she hit her head on the cab, medical would

·8· ·automatically go through the process of filing a

·9· ·Workers' Comp claim, which they did.

10· · · · Q· · Do you know whether Miss Behm was ever

11· ·paid Workers' Compensation benefits?

12· · · · A· · She was not, because the claim was denied.

13· · · · Q· · Do you know why the claim was denied?

14· · · · A· · From the report that I had read and been

15· ·made aware of, it was due to not following up with

16· ·the required steps for going to an in-network

17· ·doctor.

18· · · · Q· · So going back to this E-mail, Miss Pesola

19· ·says, Hi Kaitlyn.· It would take a while to get a

20· ·second opinion from a neuro specialist.· Also,

21· ·concussions are so subjective that I'm not sure we

22· ·would get a favorable opinion anyway, due to the

23· ·subjectivity of the diagnosis, et cetera.· My

24· ·thoughts are to get surveillance on her to see what


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000564   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 25 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     24
·1· ·she's doing on a personal level.· If she's going to

·2· ·a second job, getting paid, et cetera, that would be

·3· ·grounds for termination.· Did you take any action in

·4· ·response to Miss Pesola's E-mail?

·5· · · · A· · If I look at the dates and trying to

·6· ·recall what we just looked at with the surveillance,

·7· ·I believe they're around the same time.

·8· · · · Q· · I'll represent to you that the

·9· ·surveillance report was done, according to the

10· ·report, on September 28, 2020.· That's when it was

11· ·authored.

12· · · · A· · So it was much later.· Okay.

13· · · · Q· · Yeah.

14· · · · A· · But I think with this we just simply

15· ·followed through with the second opinion.

16· · · · Q· · Your reply to Miss Pesola is, I know she's

17· ·modeling but it's no -- if she is getting paid for

18· ·it.· She could be charging money or she may not be.

19· ·Okay.· Now, how did you know that Miss Behm was

20· ·modeling at this time?

21· · · · A· · I believe it was around the time that

22· ·Kevin had said about her working at a strip club

23· ·that I did a Google search.· I found her online

24· ·account and the photos were visible.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000565   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 26 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     25
·1· · · · Q· · Do you know what website she was hosting

·2· ·the photos on?

·3· · · · A· · Instagram.

·4· · · · Q· · Then Dr. Muto says, I am not sure it is

·5· ·significant that she is being paid.· To me it's the

·6· ·activity she is engaged in.· And Miss Pesola says,

·7· ·Agreed.· So looking at this thread of E-mails, did

·8· ·you take any other action with regards to Miss Behm

·9· ·other than to procure a second opinion from a

10· ·neurologist?

11· · · · A· · No.

12· · · · Q· · At this time were you skeptical as to

13· ·whether Miss Behm was injured?

14· · · · A· · This with the reports of her working at a

15· ·strip club and then finding the photos, we were

16· ·starting to wonder what her condition was.

17· · · · Q· · Okay.· Were there any (inaudible) on the

18· ·photos that you looked at with regards to the

19· ·Instagram account?

20· · · · A· · Sorry, what was that?

21· · · · Q· · It's kind of a clumsy question.· I'm going

22· ·to try to make it as understandable as I can.· Could

23· ·you identify looking at her Instagram accounts when

24· ·the photographs were taken or posted?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000566   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 27 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                      26
·1· · · · A· · Yes.· On Instagram it does put dates.· It

·2· ·might say posted seven days ago or I believe on

·3· ·Instagram if it's over a week out they give you the

·4· ·very specific date.· So, yes, it was very easy to

·5· ·identify when things were posted.

·6· · · · Q· · And that's as to when the photographs were

·7· ·posted, correct?

·8· · · · A· · Correct.

·9· · · · Q· · Okay.· Is it your testimony that it's

10· ·around this time in August of 2019 that

11· ·Mr. Fronheiser had come to you with information

12· ·about Miss Behm working at a strip club?

13· · · · A· · I do not remember the specific time of

14· ·year or date when Mr. Fronheiser brought it to my

15· ·attention.· I don't know when it was.

16· · · · Q· · Did you ever make any notes from that

17· ·conversation with Mr. Fronheiser?

18· · · · A· · I do not believe I did.· I would have to

19· ·look.

20· · · · Q· · Okay.· Did you ever receive information

21· ·from any other sources besides Mr. Fronheiser and

22· ·looking on Google as to Miss Behm's activities

23· ·outside of work?

24· · · · A· · From my memory, no.


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000567   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 28 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     27
·1· · · · Q· · Did you ever contact Miss Behm to ask her

·2· ·if she was working at a strip club?

·3· · · · A· · I did not.

·4· · · · Q· · Did you ever talk to Miss Behm about her

·5· ·modeling?

·6· · · · A· · I believe it came up in conversation when

·7· ·I had to contact her about I believe it was

·8· ·incomplete short-term disability paperwork, A and S

·9· ·paperwork, or something along the lines that maybe

10· ·needed more detail and it went into discussion.

11· · · · Q· · Okay.· Prior to receiving this information

12· ·about -- from Kevin Fronheiser and reviewing Miss

13· ·Behm's Instagram account, were there any other

14· ·reasons why you were skeptical about her injury or

15· ·the amount of time she was on leave?

16· · · · A· · We -- myself talking to Dr. Muto I had

17· ·asked for his professional opinion on how long

18· ·someone with a concussion might be out of work and

19· ·we -- him and I, Dr. Muto and I, we were starting to

20· ·wonder why a concussion would have kept her out of

21· ·work from May through August or beyond.

22· · · · Q· · Okay.· If I understand you, it was -- you

23· ·had had conversations with Dr. Muto about the amount

24· ·of time that Miss Behm was out with regards to a


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000568   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 29 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     28
·1· ·concussion and whether a concussion would require

·2· ·someone to be out of work that long.· Is that fair

·3· ·to say?

·4· · · · A· · Correct.

·5· · · · Q· · Do you remember with any level of

·6· ·specificity as to what Dr. Muto said to you about

·7· ·his opinion regarding the length of time someone

·8· ·would be out with a concussion?

·9· · · · A· · I don't remember the specifics of the

10· ·conversation.

11· · · · Q· · Do you remember anything generally about

12· ·that conversation?

13· · · · A· · Honestly, no.· It's been so long ago.

14· · · · Q· · And was Miss Behm being paid during this

15· ·period of leave from May until August?

16· · · · A· · Yes.

17· · · · Q· · How was she being paid?

18· · · · A· · A and S payment.· So it's partial, not

19· ·full pay.· It's partial.

20· · · · Q· · A and S is accident and sickness, correct?

21· · · · A· · Correct.

22· · · · Q· · Is that a benefit directly from Mack

23· ·Trucks or is that a benefit provided by Mack Trucks

24· ·through an insurance company?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000569   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 30 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     29
·1· · · · A· · Accident and sickness benefit is

·2· ·negotiated and part of the benefit contract between

·3· ·the union and the company.

·4· · · · Q· · Okay.· Do you have any knowledge as to

·5· ·Dr. Muto's specialty or credentials?

·6· · · · A· · I do not.

·7· · · · Q· · All right.· Bear with me a moment.· I'm

·8· ·going to go to another E-mail.· This is Mack 830.

·9· ·This is an E-mail from you to John Tolame, Gloria

10· ·Pesola and Alan Muto, dated August 29, 2019.· Do you

11· ·see that?

12· · · · A· · Yes.

13· · · · Q· · This E-mail says, Hello.· I was just

14· ·wondering if we can find a closer neurologist for

15· ·Colleen Behm to see.· I feel that having to send an

16· ·employee all the way down to Jenkintown,

17· ·parenthesis, Greater Philly area, parenthesis, is

18· ·just difficult.· Is there not someone in the Lehigh

19· ·Valley that we can get her in with?· Also, what

20· ·happens when I call and speak with Colleen about us

21· ·having set up a second opinion doctor appointment

22· ·for her and she refuses to go?· What do we do?· Did

23· ·I read that correctly?

24· · · · A· · Yes.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000570   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 31 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     30
·1· · · · Q· · Is this -- does this E-mail reference the

·2· ·second opinion that we were discussing earlier?

·3· · · · A· · It does.

·4· · · · Q· · What was the purpose in obtaining a second

·5· ·opinion from your perspective?

·6· · · · A· · I believe it would have came from the

·7· ·conversation with Dr. Muto on his professional

·8· ·opinion about how long someone typically would be

·9· ·out of work for a concussion and could return back

10· ·and work, but then also from -- with talking with my

11· ·boss and John Tolame about should we move ahead with

12· ·a second opinion to see if we could get her back to

13· ·work.

14· · · · Q· · Do you ever -- do you know whether you

15· ·ever had a phone call with Colleen about setting up

16· ·a second opinion for her to go see another

17· ·neurologist?

18· · · · A· · Once we had the appointment confirmed for

19· ·the second opinion, yes, I did call her about it.

20· · · · Q· · Did the second opinion neurologist, was

21· ·that a person in Jenkintown as referenced in this

22· ·E-mail or was someone found closer to the Lehigh

23· ·Valley?

24· · · · A· · The second opinion specialist was in


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000571   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 32 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     31
·1· ·Jenkintown, Pennsylvania.

·2· · · · Q· · Okay.· Sitting here today do you remember

·3· ·anything that you talked with Colleen about when you

·4· ·asked her to go see another neurologist for a second

·5· ·opinion?

·6· · · · A· · I said to her we were company paying for

·7· ·her to go see a specialist because we are trying to

·8· ·get her the resources that she may need to recover

·9· ·from her injury and we wanted to work with her and

10· ·give her resources.

11· · · · Q· · Okay.· Did she say anything in response to

12· ·that?

13· · · · A· · I truly do not remember what her response

14· ·was.

15· · · · Q· · Was she angry with you on the phone?

16· · · · A· · Most conversations with Colleen there was

17· ·a little bit of shortness, but I don't know that she

18· ·was angry, yelling.

19· · · · Q· · Did she refuse or agree to go see the

20· ·second opinion doctor?

21· · · · A· · I know she did not agree with me on the

22· ·phone and I believe she said she was going to reach

23· ·out to her union rep before she made a decision.

24· · · · Q· · Do you know who her union rep was at that


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000572   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 33 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     32
·1· ·time?

·2· · · · A· · I do not know.

·3· · · · Q· · Do you know whether she eventually went to

·4· ·go see the second neurologist?

·5· · · · A· · She did.

·6· · · · Q· · Did that neurologist provide you an

·7· ·opinion?

·8· · · · A· · They did, yes.

·9· · · · Q· · Do you remember what that opinion said,

10· ·your recollection?· The report will speak for

11· ·itself, but do you remember what it said?

12· · · · A· · It said they did not find anything that

13· ·would have her limited to not being able to perform

14· ·work and their professional opinion was that she was

15· ·okay and they essentially gave her no restrictions.

16· · · · Q· · So the second opinion that you retained

17· ·from the neurologist in Jenkintown, that

18· ·doctor released Miss Behm to return to work without

19· ·restriction.· Is that fair to say?

20· · · · A· · Correct.

21· · · · Q· · And was that return -- did Miss Behm

22· ·return to work immediately after that second

23· ·opinion?

24· · · · A· · Yes.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000573   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 34 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     33
·1· · · · Q· · Did you have any conversations with

·2· ·Miss Behm about her return to work from the

·3· ·concussion injury after that second opinion was

·4· ·provided?

·5· · · · A· · I remember the day of her appointment with

·6· ·the second opinion she had called me and said, I'm

·7· ·ready to come back to work, and I said, That's

·8· ·great.· Once we get the release from the doctor

·9· ·officially we'll let you know when you should come

10· ·in, see medical to get your -- to be cleared and

11· ·then we'll get you your assignment.· And I believe

12· ·she showed up the very next day.

13· · · · Q· · I'm going to ask you to look at another

14· ·E-mail.· This E-mail is identified as Mack 0839.· Do

15· ·you see that?

16· · · · A· · Yes.

17· · · · Q· · This E-mail is dated March 4, 2020 from

18· ·you to Alan Muto, Gloria Pesola and Kathy Shiffert,

19· ·CC Richard Schmidt.· Do you see that?

20· · · · A· · Yes.

21· · · · Q· · Can you tell me who Kathy Shiffert is?

22· · · · A· · She's a nurse of ours.

23· · · · Q· · Does she work in the dispensary?

24· · · · A· · She does.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000574   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 35 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     34
·1· · · · Q· · Who is Richard Schmidt?

·2· · · · A· · He is our manpower coordinator.· That's

·3· ·the best title I can give you.

·4· · · · Q· · Is Mr. Schmidt -- at this time was

·5· ·Mr. Schmidt responsible in making sure that the

·6· ·staffing levels at the factory were appropriate and

·7· ·there were people there to work?

·8· · · · A· · That's not his primary responsibility.

·9· ·His primary responsibility as a manpower coordinator

10· ·is to insure the correct -- or handling all of the

11· ·contractual moves.· That's what he is responsible

12· ·for and then he will let us know if we need more

13· ·people, where his gaps are.

14· · · · Q· · Is he a union representative or in the

15· ·union?

16· · · · A· · No, he's not.

17· · · · Q· · This E-mail from you says, Hello.· I just

18· ·wanted to start an E-mail communication to share

19· ·that Colleen had mentioned to people that if she

20· ·goes on and(sic) shift she will apply for A and S,

21· ·as she doesn't want to be working that shift.· She

22· ·already has missed seven days of work since

23· ·2/14/2020 right when she went to second shift.· And

24· ·I know you sent her home today due to headache and


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000575   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 36 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     35
·1· ·pills she takes.· I'd like us to be careful and

·2· ·monitor what, quote, illnesses, quote, she's

·3· ·claiming, as I think she may try anything to get out

·4· ·of working second shift.· Regards, Kaitlyn.· I read

·5· ·that correctly?

·6· · · · A· · Yes.

·7· · · · Q· · Who were the people that Colleen had

·8· ·mentioned that she does not want to go on second

·9· ·shift?

10· · · · A· · If my memory serves me correctly, it was

11· ·her supervisor, Arven Curtis at the time, that said

12· ·he had heard this from her peers in that work area.

13· · · · Q· · Did you say Urvan Curtis?

14· · · · A· · Arven, A-R-V-E-N.

15· · · · Q· · Thank you.· Did you hear that from anyone

16· ·else besides Mr. Curtis?

17· · · · A· · I do not believe so.

18· · · · Q· · Do you remember anything about that

19· ·conversation with Mr. Curtis?

20· · · · A· · Not more than she just wasn't able or

21· ·wanting to work on second shift.

22· · · · Q· · Do you know why Miss Behm was moved to

23· ·second shift?

24· · · · A· · Yes.· In February of 2020 we had a large


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000576   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 37 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     36
·1· ·general layoff and we laid off I think the number

·2· ·was roughly 220 employees.· So that had

·3· ·significantly affected who was working where and

·4· ·with it being a seniority shop, her seniority was no

·5· ·longer able to hold her shift, due to all of the

·6· ·movements and large reduction in workforce.

·7· · · · Q· · So it's your recollection Miss Behm was

·8· ·moved to second shift as the result of a layoff and

·9· ·attendant staffing needs that were required as a

10· ·result of that layoff.· Is that fair?

11· · · · A· · Correct.

12· · · · Q· · Did Miss Behm ever tell you directly that

13· ·she did not want to be on second shift?

14· · · · A· · No.

15· · · · Q· · Did she ever tell you that she had some

16· ·childcare issues that made her employment on second

17· ·shift a hardship to her?

18· · · · A· · I do not recall that she did.

19· · · · Q· · Did she ever report to you that she had

20· ·been assaulted by her husband?

21· · · · A· · I don't believe she directly did.           I

22· ·believe the way I had learned of that was by seeing

23· ·the A and S paperwork that was submitted back in

24· ·2019.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000577   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 38 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                      37
·1· · · · Q· · Is there a reason why you put the word

·2· ·illnesses in quotation marks in this E-mail?

·3· · · · A· · Yes.· Because A and S is for accident and

·4· ·sickness and if she was stating to her peers that

·5· ·she did not want to work second shift, that would

·6· ·not be an illness or accident.

·7· · · · Q· · Okay.· But if she was suffering from some

·8· ·kind of injury or illness, that would be covered

·9· ·under A and S, correct?

10· · · · A· · Correct.

11· · · · · · ·MR. MOODY:· Objection to form.· Mr. Baird,

12· · · · are we getting close to taking a quick break?

13· · · · · · ·MR. BAIRD:· Sure, let's take a break for

14· · · · 10 minutes.

15· · · · · · · · · · · · * * *

16· · · · · · · (Whereupon, a brief recess was taken.)

17· · · · · · · · · · · · * * *

18· ·BY MR. BAIRD:

19· · · · Q· · Miss O'Neill, I'm going to share my screen

20· ·and ask you about some more E-mails.· Bear with me a

21· ·minute.· This E-mail is marked as Mack 0848.· This

22· ·is from Alan Muto to you and John Tolame, carbon

23· ·copying Miss Pesola and Miss Shiffert.· This says,

24· ·John, we were just notified that Colleen Behm,


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000578   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 39 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     38
·1· ·parenthesis, 450939, parenthesis -- is that number

·2· ·an employee number for Miss Behm?

·3· · · · A· · Yes.· We call it an SAP number.

·4· · · · Q· · Okay -- is scheduled to return to work

·5· ·2/16/21.· It appears that she's been out of work

·6· ·since 5/12/2019.· Is that accurate?

·7· · · · A· · That date I believe -- that date matches

·8· ·one of her A and S paperwork, but she was would not

·9· ·have been able to have been out that long on A and

10· ·S.· You only get 52 weeks on A and S.

11· · · · Q· · In fact, Miss Behm had returned to work in

12· ·September of 2019; is that right?

13· · · · A· · If my memory serves me right, yes.

14· · · · Q· · She returned after the neurologist

15· ·provided the second opinion and cleared her to

16· ·return to work, correct?

17· · · · A· · Correct.

18· · · · Q· · The next sentence says, Her A and S

19· ·paperwork varies from WR to predominately NWR.· Do

20· ·you know what those abbreviations stand for?

21· · · · A· · I believe work-related to

22· ·non-work-related.

23· · · · Q· · Okay.· She was referred to Dr. Shipkin for

24· ·a second opinion at our request.· Miss O'Neill, to


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000579   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 40 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     39
·1· ·your knowledge is Dr. Shipkin the neurologist she

·2· ·saw in Jenkintown?

·3· · · · A· · Yes.

·4· · · · Q· · He determined on September 17, 2019 that

·5· ·she was completely resolved and could return to work

·6· ·full duty.· However, I do not see that she ever

·7· ·returned to work.· I am also unaware if she is on or

·8· ·has been approved for long-term disability.· Colleen

·9· ·was hired January 2nd, 2018.· She first went out of

10· ·work around August 13th, 2018 until November 8th,

11· ·2018, then December 5th, 2018 she again went out of

12· ·work until January 18, 2019.· She then went out of

13· ·work May 13, 2019 to present.· Therefore, a rough

14· ·calculation indicates that she has worked

15· ·approximately one year out of three.· It appears

16· ·that she hasn't worked long enough to develop any

17· ·skills.· Please review and discuss what would be our

18· ·next step.· Miss O'Neill, do you have any knowledge

19· ·as to what Dr. Muto was looking at to give him the

20· ·idea that Miss Behm had never returned to work since

21· ·May of 2019?

22· · · · A· · I do not know what he would have been

23· ·looking at.

24· · · · Q· · Did you ever reply to this E-mail, to your


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000580   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 41 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     40
·1· ·knowledge?

·2· · · · A· · Off the top of my head, no, I don't know

·3· ·if I did.· I might have.

·4· · · · Q· · Okay.· I'm going to have you look at

·5· ·another E-mail, marked as Mack 0849.· This is an

·6· ·E-mail -- well, I'll ask you to look at this and

·7· ·tell me when you're ready to talk about it.

·8· · · · A· · (Witness complies.)

·9· · · · A· · Okay.

10· · · · Q· · Can you tell me what this is?· Is this an

11· ·E-mail or is this something else?

12· · · · A· · This looks like it would have been a Skype

13· ·incident message communication back and forth

14· ·between myself and Diane King.

15· · · · Q· · Okay.· Do you know what date this occurred

16· ·on?

17· · · · A· · I do not.

18· · · · Q· · There was a reference in an earlier E-mail

19· ·about I think Miss King telephoning Colleen Behm's

20· ·doctor about some paperwork.· Do you remember that

21· ·E-mail?

22· · · · A· · About -- is that in the first one you had

23· ·shown me?

24· · · · Q· · Yes, it was.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000581   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 42 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                      41
·1· · · · A· · About the signature.

·2· · · · Q· · Right.

·3· · · · A· · Okay.

·4· · · · Q· · If you don't know, that's perfectly fine,

·5· ·but can you tell me if this conversation was related

·6· ·to that earlier E-mail, where Miss King telephoned

·7· ·Colleen's doctors to find out about some paperwork,

·8· ·do you know?

·9· · · · A· · I truly do not know.

10· · · · Q· · All right.· I'm going to have you look at

11· ·another E-mail.· Okay.· I'll share my screen again.

12· ·This E-mail is marked Mack 0968.· Miss O'Neill, can

13· ·you look at this and I'll have a couple questions

14· ·for you?

15· · · · A· · Okay.

16· · · · Q· · This is an E-mail thread between you and

17· ·Daniel Daly.· Is that right?

18· · · · A· · Yes.

19· · · · Q· · Who is Mr. Daly.

20· · · · A· · He's the second shift business team

21· ·leader.

22· · · · Q· · Is that a position within the HR

23· ·department for Mack Trucks?

24· · · · A· · No.· That is an operations role.


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000582   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 43 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     42
·1· · · · Q· · And you had E-mailed him on February 25th

·2· ·of 2020 saying, Hi, Dan.· Just a heads up that

·3· ·Colleen Behm called out again today taking her to

·4· ·six points.· She also called me again today asking

·5· ·about why her Article Nine wasn't approved.· She is

·6· ·claiming that she has more seniority over people on

·7· ·first.· What is an Article Nine?

·8· · · · Q· · Article Nine is a section of the contract

·9· ·that is transfer of shift.

10· · · · Q· · When you are saying that Miss Behm is

11· ·asking about why her Article Nine wasn't approved,

12· ·can you tell me what you are -- what you remember

13· ·about that conversation with Miss Behm?

14· · · · A· · I don't remember the specific

15· ·conversation.

16· · · · Q· · Do you know what about Article Nine

17· ·requires approval or denial?

18· · · · A· · You have to have more seniority than the

19· ·least senior person on the shift you want to go to

20· ·within your department and classification.

21· · · · Q· · Okay.· Did you have any access to

22· ·documents or computer files which would indicate to

23· ·you who has more seniority or not within the union?

24· · · · A· · I have access to it, but I do not go in


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000583   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 44 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     43
·1· ·there and I don't work with it.· That is Richard

·2· ·Schmidt's area of business and expertise.

·3· · · · Q· · All right.· Did you have any knowledge

·4· ·around this time in February of 2020 as to whether

·5· ·Miss Behm had more seniority or less seniority over

·6· ·people on first shift?

·7· · · · A· · Specifics it would take for me to sit and

·8· ·look at it.· But I do know at this time this was the

·9· ·week where the layoff was happening and the exercise

10· ·had been done with all the employees affected about

11· ·where their new assignments would be, which is when

12· ·she was moving to second shift.

13· · · · Q· · During this phone call did she mention any

14· ·issues with regards to childcare and any

15· ·interference that would have about second shift?

16· · · · A· · I do not recall.

17· · · · Q· · Okay.· The next sentence you wrote, So

18· ·she -- since she is at six points who knows what she

19· ·will try to claim injury-wise in work or out of work

20· ·to get placed out completely.· Can you tell me

21· ·whether you're -- let me ask it this way.· Is there

22· ·any reason that you believed Miss Behm would try to

23· ·claim an injury where one does not exist at this

24· ·time?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000584   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 45 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     44
·1· · · · A· · Just that her history of being in and out

·2· ·of work and knowing that she wanted to Article Nine

·3· ·back to first shift.· Other than that, that would

·4· ·have just been our knowledge.

·5· · · · Q· · If you discover or Mack Trucks discovers

·6· ·an employee committing fraud as to the A and S

·7· ·program, that would be grounds for termination of

·8· ·that employee, correct?

·9· · · · A· · Correct.

10· · · · Q· · Have you ever terminated any employee for

11· ·committing fraud as to the A and S program, to your

12· ·recollection?

13· · · · A· · Yes.

14· · · · Q· · Was Miss Behm ever terminated as a result

15· ·of committing fraud as to the A and S program?

16· · · · A· · No.

17· · · · Q· · How many times has an employee that you

18· ·were involved -- strike that.· How many times can

19· ·you remember an employee being terminated by Mack

20· ·Trucks as a result of fraud within the A and S

21· ·program?

22· · · · A· · I know of the one that I dealt with

23· ·specifically.· There was one.· But I don't know,

24· ·without looking, how many others.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000585   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 46 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     45
·1· · · · Q· · At the time of you sending this E-mail in

·2· ·February of 2020 Miss Behm had not been accused by

·3· ·Mack Trucks of committing fraud, correct?

·4· · · · A· · Correct.

·5· · · · Q· · Mr. Daly replied to this E-mail and said,

·6· ·At this point with movement to second shift, if

·7· ·there are any people on day shift with less time

·8· ·they are most likely temps.· Do you see that?

·9· · · · A· · Yes.

10· · · · Q· · Were there temps brought in as a result of

11· ·the layoff?

12· · · · A· · No, there was no temporary workers brought

13· ·in.

14· · · · Q· · Do you know what Mr. Daly is referring to

15· ·with regards to people on day shift with less time

16· ·being most likely temps?

17· · · · A· · I am not well versed, but we do have what

18· ·we call temporary bids.· So it's an X amount of

19· ·time, it's not a permanent position and when that

20· ·time is up they would move back to their, what we

21· ·call, home spot position.

22· · · · Q· · Okay.· I'm going to ask you to look at an

23· ·E-mail marked as Mack 0978.· This is an E-mail to

24· ·Diane King, Dee Markell and Kathy Shiffert and I


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000586   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 47 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     46
·1· ·can't see who it's from.· It looks like you signed

·2· ·it, so there may be an issue with regards to the

·3· ·copying of this document or something didn't

·4· ·transfer over.· Take a look at this, Miss O'Neill,

·5· ·and I'm just going to have a couple questions about

·6· ·it.

·7· · · · A· · Okay.

·8· · · · Q· · Looking at the very first E-mail where it

·9· ·says, Hi, Kathy, and then it's signed Kaitlyn, would

10· ·you agree with me that you probably sent that, did

11· ·send that?

12· · · · A· · Yes.

13· · · · Q· · This appears to have been sent on

14· ·March 31, 2020 and it says, Hi, Kathy.· Can you

15· ·please help Dee and I figure out what they are

16· ·trying to explain with when the condition started?

17· ·It's almost appearing that she was assaulted on May

18· ·11, 2019 and March 4th, 2020 if that is what they

19· ·are saying.· I'm not sure that is the case, as I

20· ·think the new condition that Colleen is trying to

21· ·claim in -- that might be a typo -- is migraines, in

22· ·parenthesis, which she is claiming never went away

23· ·from her attack on May 11th, 2019.· Did I read that

24· ·right?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000587   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 48 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     47
·1· · · · A· · Yes.

·2· · · · Q· · Did you ever talk to Colleen about any

·3· ·assaults that she had been the victim of?

·4· · · · A· · To my knowledge, I don't think there was a

·5· ·direct conversation about that.

·6· · · · Q· · And when you refer to "they" in this

·7· ·E-mail are you referring to Miss Behm and her

·8· ·doctors or her doctor's office, do you know, or

·9· ·can't you remember?

10· · · · A· · I would think I was referring to the

11· ·doctor's office.· Did Miss Behm ever present you

12· ·with documents regarding court appearances that she

13· ·was attending for protection from abuse orders?

14· · · · A· · If she did it would have been at an

15· ·attendance meeting.

16· · · · Q· · Okay.· Do you know whether court

17· ·appearances are excused under the Mack Trucks

18· ·attendance policy?

19· · · · A· · Under the Mack Trucks attendance policy it

20· ·is excused if you are subpoenaed.

21· · · · Q· · Okay.· At the time of this E-mail was it

22· ·your belief that Miss Behm was making up medical

23· ·issues because she did not want to be on second

24· ·shift?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000588   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 49 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     48
·1· · · · A· · This E-mail was for clarification, because

·2· ·corporate won't process something with that far back

·3· ·of a date.· So this was clarification on the actual

·4· ·condition to insure that we could process the A and

·5· ·S.

·6· · · · Q· · I'm sorry, Miss O'Neill, your last answer

·7· ·came through garbled at the beginning.· Can you say

·8· ·that again?· I'm sorry.

·9· · · · A· · Sure.· This communication in the E-mail

10· ·here, this was asking for clarification, because

11· ·when we send A and S paperwork to be processed for

12· ·payment they need specific and recent dates for

13· ·proper processing to not cause errors.· And if we

14· ·were given dates from a year out we would have had

15· ·issues.· So that E-mail was just to get

16· ·clarification on the condition and the start date of

17· ·it.

18· · · · Q· · So it's your testimony, then, that at this

19· ·time you did not believe Miss Behm was making up

20· ·medical conditions, correct?

21· · · · A· · Correct.· Because we weren't sure what she

22· ·was stating on the paperwork, as it had many

23· ·different dates and conditions.

24· · · · Q· · Was Miss Behm's employment terminated by


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000589   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 50 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     49
·1· ·Mack Trucks?

·2· · · · A· · No.· Colleen Behm resigned herself.

·3· · · · Q· · Did you have any conversation with her

·4· ·about her resignation?

·5· · · · A· · No.· She submitted her resignation via

·6· ·E-mail directly to me.

·7· · · · Q· · Did you have any exit meeting with her?

·8· · · · A· · No.

·9· · · · Q· · Have you had any conversations with her

10· ·since the time of her resignation?

11· · · · A· · Shortly after her time of resignation I

12· ·remember she E-mailed me asking about when her

13· ·vacation payout would be.· But beyond that there was

14· ·no other conversation since.

15· · · · Q· · I'll share my screen again.· I'd like you

16· ·to look at another E-mail.· This is Mack 1175.· This

17· ·is an E-mail from Dee Markell to you, dated

18· ·April 1st, 2020.· It says, Hi, Kaitlyn.· I was just

19· ·checking to see if you got a response on the A and

20· ·S.· I'm doubting the will call the doctor -- I think

21· ·Miss Markell is saying she will call the doctor, but

22· ·neither here nor there -- as this is on their share

23· ·point.· And then there is -- appears to be some kind

24· ·of chart here, graph or spreadsheet input into the


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000590   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 51 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     50
·1· ·E-mail.· Do you see that?

·2· · · · A· · Yes.

·3· · · · Q· · Do you know where that spreadsheet comes

·4· ·from?

·5· · · · A· · I do not.· I've never seen this before,

·6· ·like that file or that chart.

·7· · · · Q· · Okay.· Under Other there is a blue circle

·8· ·in ink and it says, OOW migraine.· I interpret that

·9· ·to say out of work migraine.· Then in red it says,

10· ·Do not call.· Do you see that?

11· · · · A· · Yes.

12· · · · Q· · Have you ever seen anything like that

13· ·before?

14· · · · A· · No.

15· · · · · · ·MR. MOODY:· Mr. Baird, you broke up on the

16· · · · start of that.· What number are we looking at?

17· · · · · · ·MR. BAIRD:· Sorry, Randy.· That's 1175.

18· · · · · · ·MR. MOODY:· No worries.· We are dealing

19· · · · with technology.

20· ·BY MR. BAIRD:

21· · · · Q· · I think I have one more for you, Miss

22· ·O'Neill.· This one is going to be Mack 1202.· Do you

23· ·see this document, Miss O'Neill?

24· · · · A· · Yes, I do.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000591   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 52 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     51
·1· · · · Q· · Can you tell me what this is?

·2· · · · A· · This is an instant message Skype

·3· ·conversation between myself and Kevin Fronheiser.

·4· · · · Q· · You write, Hey, can you please have a

·5· ·conversation with Colleen Behm that she needs to

·6· ·remain professional and polite during her

·7· ·communication with us?· If she continues to interact

·8· ·in a rude way I will discipline her for harassment.

·9· ·I'm trying to work with her as professionally as I

10· ·can, but her inappropriate tone and rude manner is

11· ·not needed or appropriate.· Did I read that

12· ·correctly?

13· · · · A· · Yes.

14· · · · Q· · Do you remember what Miss Behm did to

15· ·prompt this communication to Mr. Fronheiser?

16· · · · A· · It would have been a time when I called

17· ·her on the phone.· What I called her, or if she

18· ·called me, a phone conversation happened.· Specifics

19· ·of it I don't necessarily recall.· But as I stated

20· ·before, many times when Colleen would be

21· ·communicating with me it wasn't far from rude,

22· ·short, just inappropriate, yeah, tone.· It was very

23· ·frequent anytime we would communicate that she would

24· ·be short or, you know, rude with me.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000592   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 53 of 132

                        Kaitlyn O'Neill - March 23, 2022

                                                                      52
·1· · · · Q· · To your recollection, that was her tone

·2· ·and general manner in her communications with you.

·3· ·Is that fair?

·4· · · · A· · Yes.

·5· · · · Q· · Did she ever use profanity with you?

·6· · · · A· · In an E-mail, I don't believe so.· On the

·7· ·phone, I can't remember many of the specifics of the

·8· ·conversations, so I cannot say yes or no.

·9· · · · Q· · Did you ever write up Miss Behm for any

10· ·inappropriate communications with you?

11· · · · A· · No, I did not.

12· · · · Q· · Bear with me, Miss O'Neill.· I have to

13· ·find one other document.· This document is Mack

14· ·1179, 1180.· It's a two-page document.· Okay.· This

15· ·is an E-mail from Miss Pesola to Patrick O'Connell.

16· ·Can you tell me who Mr. O'Connell is?

17· · · · A· · I cannot.· I don't think I know who that

18· ·is.

19· · · · Q· · Okay.· You are not carbon copied on this

20· ·E-mail, correct?

21· · · · A· · Correct.

22· · · · Q· · Dr. Muto, Miss Shiffert and Miss King are

23· ·carbon copied on this.· And this is of high

24· ·importance from Miss Pesola.· Just wanted you to see


   www.LexitasLegal.com/Premier     Lexitas                888-267-1200· · ·
                                                                   JA000593   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 54 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     53
·1· ·what we received today on Colleen Behm, WC390E11428.

·2· ·Do you know what that number means or?

·3· · · · · · ·MR. MOODY:· I lost sound.

·4· · · · · · ·MR. BAIRD:· Okay.· He doesn't hear us.

·5· · · · let's go off the record.

·6· · · · · · · · · · · · * * *

·7· · · · · · · · ·(Whereupon, a brief off-the-record

·8· · · · · ·discussion was held.)

·9· · · · · · · · · · · · * * *

10· ·BY MR. BAIRD:

11· · · · Q· · We'll start over.· This one is Mack 1179

12· ·and 1180.· Miss O'Neill, you're not copied on this

13· ·E-mail.· Do you see that?

14· · · · A· · Yes.

15· · · · Q· · It says, Just wanted you to see what we

16· ·received today on Colleen Behm.· WC390E11428.· Does

17· ·that number mean anything to you?

18· · · · A· · That I believe would be her Workers' Comp

19· ·case number.

20· · · · Q· · Okay.· It says, I know this claim is

21· ·denied.· However, I wanted you to be aware that on

22· ·her most recent A and S form, which is attached, she

23· ·has checked that this sickness, slash, injury is due

24· ·to her employment with the company.· Also look at


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000594   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 55 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     54
·1· ·the complaints listed on the bottom of this form.

·2· ·Ellipses, hostile work environment, harassment, et

·3· ·cetera.· Did I read that correctly?

·4· · · · A· · Yes.

·5· · · · Q· · Then it says, Please advise if we need to

·6· ·do anything or discuss with Tony Salvino.· Do you

·7· ·know who Mr. Salvino is?

·8· · · · A· · I believe he's the Workers' Comp attorney.

·9· · · · Q· · All right.· Then this is the form, to my

10· ·knowledge, that's attached as Mack 1180.· It does

11· ·have some writing down below referencing, Never

12· ·cleared to return to work.· Hostile work

13· ·environment, harassment, discrimination, sexism,

14· ·targeting HIPAA violations, victimization, unfair

15· ·treatment and emotional distress, causing increase

16· ·in anxiety and migraines.· Did I read that

17· ·correctly?

18· · · · A· · Yes.

19· · · · Q· · Did you ever take any investigation into

20· ·what Miss Behm was referring to here?

21· · · · A· · When I saw this page of the A and S I

22· ·don't recall specifically when I saw it, but as soon

23· ·as I saw it I reached out to her supervisor, her

24· ·current one and her previous one, and asked if she


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000595   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 56 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     55
·1· ·had ever mentioned anything.· They said they were

·2· ·not aware.· I also reached out to Kevin Fronheiser,

·3· ·because I wasn't sure who her union rep was.           I

·4· ·asked Kevin if she had ever brought anything to his

·5· ·attention, and he said no, he had not heard of

·6· ·anything.· So I did pretty much instantly ask for

·7· ·any information that someone would have had on this

·8· ·and nothing came of it.· No one had anything.

·9· · · · Q· · Did you reach out to Miss Behm about this?

10· · · · A· · I don't know that I did.

11· · · · Q· · Do you know whether you did or not?

12· · · · A· · A hundred percent I don't know.· I'd have

13· ·to look.

14· · · · Q· · Okay.· Where would you look to determine

15· ·whether you had reached out to Miss Behm in

16· ·reference to what she had written on the paper?

17· · · · A· · I would check E-mails, our investigation

18· ·files.· I would look in those areas.

19· · · · Q· · Okay.· When you reached out to

20· ·Mr. Fronheiser did he discuss with you who Miss

21· ·Behm's union representation was at that time?

22· · · · A· · I don't recall that he did.

23· · · · Q· · Do you remember which supervisors you

24· ·spoke with to investigate what Miss Behm had written


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000596   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 57 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     56
·1· ·down on this paper?

·2· · · · A· · I had reached out to Arven Curtis and I'm

·3· ·blanking on who the other supervisor would have

·4· ·been, but I know Arven Curtis was I believe the

·5· ·first person I had asked.

·6· · · · Q· · During your employment with Mack Trucks

·7· ·can you remember any other instances in which you

·8· ·obtained surveillance on an employee utilizing the A

·9· ·and S program?

10· · · · A· · Yes.· The case where we did terminate

11· ·employment for fraud essentially for the person

12· ·claiming it.

13· · · · Q· · Okay.· Was that the reason for termination

14· ·with regards to that person?· Was it fraud or is

15· ·there another word that was used by Mack?

16· · · · · · ·MR. MOODY:· Objection to form.· You can

17· · · · answer.

18· · · · · · ·THE WITNESS:· I believe the word would

19· · · · have been fraud, because in the contract it

20· · · · states.· So, yes, I believe that would be the

21· · · · term we used.

22· ·BY MR. BAIRD:

23· · · · Q· · Do you remember who that person was who

24· ·was terminated?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000597   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 58 of 132

                       Kaitlyn O'Neill - March 23, 2022

                                                                     57
·1· · · · A· · I know the first name is Paul.· I don't

·2· ·remember the last name.

·3· · · · Q· · Do you remember when that employee was

·4· ·terminated?

·5· · · · A· · 2018.

·6· · · · Q· · Were there any other employees that you

·7· ·can think of who you had obtained surveillance on

·8· ·for any reason besides Paul and Miss Behm?

·9· · · · A· · I did not request -- I did request the

10· ·surveillance on another employee on A and S, Fawn

11· ·Owenberg.

12· · · · Q· · F-A-W-N?

13· · · · A· · Yes.

14· · · · Q· · Was Fawn terminated?

15· · · · A· · No.

16· · · · Q· · Does Fawn still work for Mack Trucks?

17· · · · A· · Yes.

18· · · · Q· · Is she on A and S currently?

19· · · · A· · I would have to look.

20· · · · · · ·MR. BAIRD:· That's all the questions I

21· · · · have, Miss O'Neill.· I appreciate your time.

22· · · · Mr. Moody may have some follow-up questions for

23· · · · you.

24· · · · · · ·MR. MOODY:· I don't have any questions for


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000598   YVer1f
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 59 of 132

                         Kaitlyn O'Neill - March 23, 2022

                                                                       58
·1· ·you, Miss O'Neill.· Everyone have a great day.

·2· · · · THE COURT REPORTER:· Do you both want

·3· ·copies?

·4· · · · MR. BAIRD:· Yes.

·5· · · · MR. MOODY:· I'll take copies and she will

·6· ·read and sign.

·7· · · · · · · · · · · * * *

·8· · · · · · · ·(Witness excused.)

·9· · · · · · · · · · · * * *

10· · · · (Whereupon, the Zoom deposition concluded

11· · ·at 12:45 p.m.)

12· · · · · · · · · · · * * *

13

14

15

16

17

18

19

20

21

22

23

24


     www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                    JA000599
       Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 60 of 132

                                          Kaitlyn O'Neill - March 23, 2022

                                                                                        59
·1· · · · · · C E R T I F I C A T I O N

·2

·3
· ·   · · · · ·I, Karen A. Stevens, a Court Reporter
·4·   · and Notary Public, do hereby certify the
· ·   ·foregoing to be a true and accurate transcript
·5·   ·of the proceedings in this matter, as
· ·   ·transcribed from the stenographic notes taken
·6·   ·by me.

·7
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·__________________
·8·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·Karen A. Stevens
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·Court Reporter
·9·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·Notary Public

10

11

12

13

14·   ·   · · · ·(The foregoing certification of this
· ·   ·   transcript does not apply to any reproduction
15·   ·   of the same by any means, unless under the
· ·   ·   direct control and/or supervision of the
16·   ·   certifying reporter.)

17

18

19

20

21

22

23

24


      www.LexitasLegal.com/Premier                       Lexitas             888-267-1200· · ·
                                                                                     JA000600
       Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 61 of 132

                          Kaitlyn O'Neill - March 23, 2022

                                                                        60
·1· · · · · · · · · · · · ·- - -

·2· · · · · · · · ·INSTRUCTIONS TO WITNESS

·3· · · · · · · · · · · · ·- - -

·4

·5

·6·   · · · · · Read your deposition over carefully.· It is
· ·   ·your right to read your deposition and make changes
·7·   ·in form or substance.· You should assign a reason in
· ·   ·the appropriate column on the ERRATA SHEET for any
·8·   ·change made.

·9

10·   · · · · · After making any change in form or
· ·   ·substance, and which have been noted on the
11·   ·following ERRATA SHEET, along with the reason for
· ·   ·change, sign your name on the ERRATA SHEET and date
12·   ·it.

13

14

15·   · · · · · ·Then sign your deposition at the end of
· ·   ·your testimony in the space provided.· You are
16·   ·signing it subject to the changes you have made in
· ·   ·the ERRATA SHEET, which will be attached to the
17·   ·deposition before filing.· You must sign in the
· ·   ·space provided.· The witness need not be a Notary
18·   ·Public.· Any competent adult may witness your
· ·   ·signature.
19

20

21

22

23

24


      www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                     JA000601
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 62 of 132

                         Kaitlyn O'Neill - March 23, 2022

                                                                       61
·1· · · · · · · · · · · SIGNATURE PAGE

·2· · · · · · · · · · · · · · OF

·3· · · · · · · · · · ·KAITLYN O'NEILL

·4

·5· · · · · · ·I hereby acknowledge that I have read the

·6· · · · aforegoing deposition dated March 23, 2022, and

·7· · · · that the same is a true and correct

·8· · · · transcription of the answers given by me to the

·9· · · · questions propounded, except for the changes,

10· · · · if any, noted on the attached ERRATA SHEET.

11

12· ·SIGNATURE

13

14· ·____________________

15· ·Kaitlyn O'Neill

16

17· ·____________________

18· ·WITNESSED BY:· · · · · · · · ·DATE

19

20· ·____________________· · · · · ______________

21

22

23

24


     www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                    JA000602
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 63 of 132

                         Kaitlyn O'Neill - March 23, 2022

                                                                       62
·1· · · · · · · · · · · ·ERRATA SHEET

·2· ·PAGE· · · · ·LINE· · · · · · · ·CORRECTION

·3

·4· ·_______-____________________________________

·5· ·_______-____________________________________

·6· ·_______-____________________________________

·7· ·_______-____________________________________

·8· ·_______-____________________________________

·9· ·_______-____________________________________

10· ·_______-____________________________________

11· ·_______-____________________________________

12· ·_______-____________________________________

13· ·_______-____________________________________

14· ·_______-____________________________________

15· ·_______-____________________________________

16· ·_______-____________________________________

17· ·_______-____________________________________

18· ·_______-____________________________________

19· ·_______-____________________________________

20· ·_______-____________________________________

21· ·_______-____________________________________

22· ·_______-____________________________________

23· ·_______-____________________________________

24· ·_______-____________________________________


     www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                    JA000603
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 64 of 132
                           Kaitlyn O'Neill - March 23, 2022

                             2019 18:17 21:18,22 26:10 29:10
                    0          36:24 38:12 39:4,12,13,21 46:18,23                      A
                             2020 6:20 24:10 33:17 35:24 42:2
 0813 19:16                    43:4 45:2 46:14,18 49:18             A-R-V-E-N 35:14
 0839 33:14                  2022 20:16                             abbreviations 38:20
 0848 37:21                  220 36:2                               abuse 47:13
 0849 40:5                   25th 42:1                              access 42:21,24
 0968 41:12                  28 24:10                               accident 28:20 29:1 37:3,6
 0978 45:23                  29 29:10                               account 24:24 25:19 27:13

                             29601 2:9                              accounts 25:23
                    1
                             2nd 39:9                               accurate 18:19 38:6
 10 11:8 37:14                                                      accused 45:2
                                               3                    acting 12:24
 11 46:18
 1175 49:16 50:17                                                   action 24:3 25:8
                             31 46:14
 1179 52:14 53:11                                                   activities 15:2,11 16:2 26:22
 1180 52:14 53:12 54:10                        4                    activity 25:6
 11th 46:23                                                         actual 48:3
                             4 3:5 33:17
 1202 50:22                                                         adaptation 8:24
                             450939 38:1
 12:45 58:11                                                        Administration 5:12
                             4th 46:18
 13 39:13                                                           advise 54:5
 13th 39:10                                    5                    affected 36:3 43:10
 1420 14:2                                                          agent 14:10 17:16,23
                             5/12/2019 38:6
 1421 14:2                                                          agree 21:10 31:19,21 46:10
                             52 38:10
 1422 14:2                                                          Agreed 25:7
                             5th 39:11
 15 2:9                                                             ahead 22:13 30:11
 15th 22:2                                     7                    Alan 29:10 33:18 37:22
 17 39:4                                                            amount 27:15,23 45:18
                             700 2:9
 18 39:12                                                           and(sic) 34:20
 19102 2:4                                                          angry 31:15,18
                                               8
 1st 49:18                                                          anxiety 54:16
                             800 9:15                               anytime 51:23
                    2        812 19:14                              appearances 47:12,17
                             813 19:14                              appearing 46:17
 2/14/2020 34:23
                             814 19:14                              appears 38:5 39:15 46:13 49:23
 2/16/21 38:5
                             830 29:8                               apply 34:20
 2011 5:18
                             8th 39:10                              appointment 29:21 30:18 33:5
 2015 5:22 6:7
 2017 7:15,17                                                       approval 42:17

 2018 39:9,10,11 57:5                                               approved 15:4 39:8 42:5,11




www.LexitasLegal.com/Premier               Lexitas 888-267-1200· · ·Index:JA000604
                                                                           0813–approved
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 65 of 132
                                         Kaitlyn O'Neill - March 23, 2022

 approximately 39:15                       beginning 48:7                          Calhoun 21:2
 April 49:18                               behalf 10:18 11:13,20                   call 20:20 23:2 29:20 30:15,19 38:3
                                                                                    43:13 45:18,21 49:20,21 50:10
 arbitration 15:23                         Behm 4:15 11:23 12:3,9,12 13:15
                                            14:22 17:8,19 18:3,12 19:6 21:2,8,24   called 33:6 42:3,4 51:16,17,18
 area 29:17 35:12 43:2
                                            23:4,10 24:19 25:8,13 26:12 27:1,4,
                                                                                   Campus 5:16,20
 areas 55:18                                24 28:14 29:15 32:18,21 33:2 35:22
                                            36:7,12 37:24 38:2,11 39:20 42:3,10,   carbon 37:22 52:19,23
 Article 42:5,7,8,11,16 44:2                13 43:5,22 44:14 45:2 47:7,11,22
                                            48:19 49:2 51:5,14 52:9 53:1,16
                                                                                   careful 35:1
 Arven 35:11,14 56:2,4
                                            54:20 55:9,15,24 57:8                  Carolina 2:9
 assaulted 36:20 46:17
                                           Behm's 15:11 16:2 17:24 26:22           case 12:8 23:3 46:19 53:19 56:10
 assaults 47:3                              27:13 40:19 48:24 55:21
                                                                                   causing 54:15
 assigned 8:13 9:6                         belief 47:22
                                                                                   center 8:24 9:1
 assignment 9:6 33:11                      believed 15:1 43:22
                                                                                   certificate 7:2
 assignments 43:11                         benefit 28:22,23 29:1,2
                                                                                   certification 4:4 6:13,14,15,16,21
 assistant 20:20                           benefits 23:11                           7:4,7
 assistants 9:17                           Berks 5:16                              certifications 6:12
 attached 53:22 54:10                      bids 45:18                              Certified 7:8
 attack 46:23                              bit 31:17                               cetera 23:23 24:2 54:3
 attendance 47:15,18,19                    Blair 2:13                              chair 16:10
 attendant 36:9                            blank 14:14                             Change 6:11
 attending 47:13                           blanking 56:3                           charging 24:18
 attention 26:15 55:5                      blue 50:7                               chart 49:24 50:6
 attorney 54:8                             Blvd 2:3                                check 55:17
 August 21:18 22:2 26:10 27:21             boss 15:3,6 30:11                       checked 53:23
  28:15 29:10 39:10
                                           bottom 19:18 20:2 54:1                  checking 49:19
 authored 24:11
                                           break 37:12,13                          childcare 36:16 43:14
 automatically 23:8
                                           Brent 21:2                              chronological 19:19
 aware 14:24 16:20 23:15 53:21 55:2
                                           broad 8:11                              circle 50:7
                   B                       broke 50:15                             claim 23:5,9,12,13 43:19,23 46:21
                                                                                    53:20
                                           brought 26:14 45:10,12 55:4
 Bachelor's 5:8,10                                                                 claiming 22:7 35:3 42:6 46:22 56:12
                                           building 8:19
 back 21:9 23:18 30:9,12 33:7 36:23                                                clarification 48:1,3,10,16
  40:13 44:3 45:20 48:2                    business 5:12 7:21 8:1,4,6,13 9:5,10
                                            10:3 41:20 43:2                        classification 42:20
 background 5:7
                                                                                   cleared 33:10 38:15 54:12
 Baird 2:2 3:5 4:13,14 21:13,15 37:11,                        C
  13,18 50:15,17,20 53:4,10 56:22                                                  client 19:2
  57:20 58:4                                                                       client's 18:21
                                           cab 23:7
 Bates 13:22                               cabs 18:22                              close 9:14 37:12
 BC 21:4                                                                           closely 15:19
                                           CAC 8:17,22
 Bear 13:24 19:11 29:7 37:20 52:12         calculation 39:14                       closer 20:14 29:14 30:22




www.LexitasLegal.com/Premier                              Lexitas
                                                            888-267-1200· · ·Index: approximately–closer
                                                                                        JA000605
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 66 of 132
                                          Kaitlyn O'Neill - March 23, 2022

 club 16:5,6 17:9,14 18:4 24:22 25:15       contents 16:20                           Daly 41:17,19 45:5,14
  26:12 27:2
                                            continues 51:7                           Dan 42:2
 clumsy 25:21
                                            contract 29:2 42:8 56:19                 Daniel 41:17
 Colleen 4:15 11:23 14:8 15:1 29:15,
                                            contractual 34:11                        date 19:7 21:4,7 26:4,14 38:7 40:15
  20 30:15 31:3,16 34:19 35:7 37:24
                                                                                      48:3,16
  39:8 40:19 42:3 46:20 47:2 49:2 51:5,     conversation 26:17 27:6 28:10,12
  20 53:1,16                                 30:7 35:19 41:5 42:13,15 47:5 49:3,     dated 29:10 33:17 49:17
                                             14 51:3,5,18
 Colleen's 41:7                                                                      dates 24:5 26:1 48:12,14,23
                                            conversations 15:14 18:2 27:23
 College 5:15                                                                        day 33:5,12 45:7,15 58:1
                                             31:16 33:1 49:9 52:8
 comfortable 6:1                                                                     days 26:2 34:22
                                            coordinator 7:18,19,20 14:11 20:7
 committing 44:6,11,15 45:3                  34:2,9                                  dealing 50:18
 communicate 51:23                          coordinators 9:19                        Deals 8:7
 communicating 51:21                        copied 52:19,23 53:12                    dealt 44:22
 communication 34:18 40:13 48:9             copies 58:3,5                            December 39:11
  51:7,15
                                            copying 37:23 46:3                       decision 31:23
 communications 52:2,10
                                            corporate 48:2                           Dee 20:4,6 45:24 46:15 49:17
 Comp 23:2,9 53:18 54:8
                                            correct 4:19,20 6:7,8 10:5 12:11         Defendants 2:10
 company 14:17 28:24 29:3 31:6               15:7,8 16:16 17:24 18:1 21:21,23
  53:24                                      26:7,8 28:4,20,21 32:20 34:10 36:11
                                                                                     defense 8:17,18
                                             37:9,10 38:16,17 44:8,9 45:3,4 48:20,   degree 5:9,10,13,17,19,21 6:9
 Compensation 23:4,11
                                             21 52:20,21
 complain 12:12                                                                      denial 42:17
                                            correctly 21:5 29:23 35:5,10 51:12
 complaining 11:10                           54:3,17                                 denied 23:12,13 53:21

 complaint 10:13,16,21 11:24 12:3           corroborate 17:1,12                      deny 22:11

 complaints 10:11 11:12,18 12:16            counsel 4:2                              department 8:12,17 41:23 42:20
  54:1                                                                               deposition 4:17,18,24 13:24 18:21
                                            counseling 8:10
                                                                                      58:10
 completed 6:20
                                            couple 41:13 46:5
 completely 39:5 43:20                                                               describe 5:6
                                            court 5:3 47:12,16 58:2
 complies 40:8                                                                       DESCRIPTION 3:11
                                            covered 37:8
 computer 42:22                                                                      detail 17:17 27:10
                                            CRC 8:21
 concept 10:1,6                                                                      details 14:12
                                            credentials 29:5
 concluded 58:10                                                                     determine 55:14
                                            Cruz 12:13,16,18
 concussion 22:8,18 23:5 27:18,20                                                    determined 39:4
                                            curious 22:13
  28:1,8 30:9 33:3                                                                   develop 39:16
                                            current 8:4 54:24
 concussions 23:21                                                                   Development 6:11
                                            Curtis 35:11,13,16,19 56:2,4
 condition 25:16 46:16,20 48:4,16                                                    diagnosis 19:1 23:23
                                            customer 8:24
 conditions 48:20,23                                                                 Diane 20:3,18 40:14 45:24
                                            customers 9:4
 confident 15:17                                                                     difficult 29:18
 confirm 22:11                                                                       dig 10:24
                                                               D
 confirmed 21:4 30:18                                                                diploma 5:8
 contact 27:1,7                             daily 13:10                              direct 47:5




www.LexitasLegal.com/Premier                              Lexitas           888-267-1200· · ·Index: club–direct
                                                                                               JA000606
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 67 of 132
                                          Kaitlyn O'Neill - March 23, 2022

 directly 10:14,21 11:24 17:8 28:22         earlier 30:2 40:18 41:6                facility 8:19 10:9 20:13
  36:12,21 49:6
                                            easy 26:4                              fact 38:11
 director 7:24 9:23
                                            educational 5:6                        factory 34:6
 disability 22:4,6 27:8 39:8
                                            eight-week 6:24                        fair 15:9 19:21 28:2 32:19 36:10 52:3
 discipline 5:10 6:9 51:8
                                            Ellipses 54:2                          fairly 18:19
 discover 44:5
                                            emotional 54:15                        familiar 16:24
 discovers 44:5
                                            employed 7:9 12:20 20:9,12,21          family 20:14
 discrimination 54:13
                                            employee 7:22 8:7 10:14,18,21          favorable 23:22
 discuss 39:17 54:6 55:20                    11:20 12:15 21:1 29:16 38:2 44:6,8,
                                                                                   Fawn 57:10,14,16
                                             10,17,19 56:8 57:3,10
 discussing 30:2
                                                                                   February 35:24 42:1 43:4 45:2
                                            employee's 20:24
 discussion 27:10 53:8
                                                                                   feel 5:24 29:15
                                            employees 9:12 14:24 16:15 36:2
 discussions 15:10
                                             43:10 57:6                            feeling 6:6
 dispensary 20:19 33:23
                                            employment 12:9 20:11 36:16            fielded 10:13,16,20 11:12,18
 distance 6:2                                48:24 53:24 56:6,11
                                                                                   fielding 10:10
 distress 54:15                             end 21:5
                                                                                   figure 46:15
 diversity 6:15                             engaged 25:6
                                                                                   file 50:6
 doctor 20:24 23:17 29:21 31:20             engaging 15:1
                                                                                   filed 4:15
  32:18 33:8 40:20 49:20,21
                                            entire 22:1
                                                                                   files 11:1 42:22 55:18
 doctor's 47:8,11
                                            environment 54:2,13
                                                                                   filing 4:3 23:8
 doctors 41:7 47:8
                                            ERIC 2:3
                                                                                   filled 21:2
 document 13:21 14:1,2,4 46:3 50:23
                                            errors 48:13
  52:13,14                                                                         final 7:2,3 8:16
                                            ESQUIRE 2:2,8
 documents 12:7 13:19,21 42:22                                                     find 11:2 29:14 32:12 41:7 52:13
  47:12                                     essentially 32:15 56:11
                                                                                   finding 25:15
 doubting 49:20                             estimate 6:1,4,7 9:15 11:6
                                                                                   fine 6:3 11:6 16:22 41:4
 drawing 14:14                              eventually 32:3
                                                                                   finish 8:15
 due 23:15,22 34:24 36:5 53:23              exam 7:2
                                                                                   finished 5:22
 duly 4:10                                  examined 4:11
                                                                                   floor 10:9 16:14,15
 duty 39:6                                  excused 47:17,20 58:8
                                                                                   follow-up 57:22
                                            exercise 43:9
                    E                                                              forget 14:11
                                            exist 43:23
                                                                                   form 4:5 21:11 37:11 53:22 54:1,9
 E-MAIL 20:3,18 21:8 22:12,23 23:18         exit 49:7                               56:16
  24:4 29:8,9,13 30:1,22 33:14,17           expertise 43:2                         forward 15:5
  34:17,18 37:2,21 39:24 40:5,6,11,18,
  21 41:6,11,12,16 45:1,5,23 46:8 47:7,     explain 46:16                          found 24:23 30:22
  21 48:1,9,15 49:6,16,17 50:1 52:6,15,     extended 22:19                         fraud 44:6,11,15,20 45:3 56:11,14,19
  20 53:13
                                                                                   frequent 11:15 51:23
 E-MAILED 42:1 49:12                                          F
                                                                                   Fronheiser 16:10 17:6,7 18:3,6
 E-MAILS 19:13,15,18 25:7 37:20                                                     26:11,14,17,21 27:12 51:3,15 55:2,20
  55:17                                     F-A-W-N 57:12
                                                                                   Fronheiser's 17:2




www.LexitasLegal.com/Premier                               Lexitas
                                                              888-267-1200· · ·Index: directly–Fronheiser's
                                                                                           JA000607
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 68 of 132
                                        Kaitlyn O'Neill - March 23, 2022

 front 10:8                               hear 21:12 35:15 53:4                  information 16:1,8,9,12 17:2,12
                                                                                  18:7 26:11,20 27:11 55:7
 full 28:19 39:6                          heard 18:14 35:12 55:5
                                                                                 informed 17:6
                                          held 8:2 53:8
                   G                                                             initialed 21:3
                                          Hey 51:4
                                                                                 initials 21:4
 gaps 34:13                               high 5:8 15:23 52:23
                                                                                 injured 18:13 21:9,19,22 25:13
 garbled 48:7                             higher 15:22,23
                                                                                 injury 18:16 22:6 27:14 31:9 33:3
 gave 4:22 32:15                          HIPAA 54:14
                                                                                  37:8 43:23 53:23
 general 36:1 52:2                        hired 7:16,18,20 39:9
                                                                                 injury-wise 43:19
 generally 28:11                          history 44:1
                                                                                 ink 50:8
 give 5:23 9:13 26:3 31:10 34:3 39:19     hit 18:22 19:3,7 23:7
                                                                                 input 49:24
 Gloria 22:24 29:9 33:18                  hold 36:5
                                                                                 Instagram 25:3,19,23 26:1,3 27:13
 Google 24:23 26:22                       home 17:24 34:24 45:21
                                                                                 instances 56:7
 graduated 5:18                           honest 10:23
                                                                                 instant 51:2
 Graham 2:2 4:14                          honestly 11:9 28:13
                                                                                 instantly 55:6
 grahamb@ericshore.com 2:4                hostile 54:2,12
                                                                                 instruction 5:23
 graph 49:24                              hosting 25:1
                                                                                 instructions 4:22
 great 33:8 58:1                          HR 6:16 7:18,19,20,21,24 8:4,6 9:10,
                                                                                 insurance 28:24
                                           19,23 20:7 41:22
 Greater 29:17                                                                   insure 34:10 48:4
                                          human 6:14 7:8
 Greenville 2:9                                                                  interact 13:8,12 51:7
                                          hundred 15:16 19:10 55:12
 grievance 15:23                                                                 interacted 13:15
                                          husband 36:20
 grounds 24:3 44:7                                                               interaction 12:9
 group 8:14,15 9:2                                            I                  interference 43:15
 groups 9:7,11                                                                   interpret 50:8
                                          idea 39:20
 guess 5:24                                                                      investigate 15:10 55:24
                                          identified 19:13 33:14
                                                                                 investigation 14:23 54:19 55:17
                   H                      identify 13:21 25:23 26:5
                                                                                 investigator 14:7,9 17:19
                                          illness 37:6,8
 handle 15:22                                                                    involved 15:14 19:14,16 44:18
                                          illnesses 35:2 37:2
 handling 34:10                                                                  involving 5:4 12:13
                                          immediately 32:22
 happen 15:21                                                                    issue 46:2
                                          importance 52:24
 happened 11:8 19:3 51:18                                                        issues 36:16 43:14 47:23 48:15
                                          in-network 23:16
 happening 43:9                                                                  items 9:3 15:22,24
                                          inappropriate 51:10,22 52:10
 harassment 10:11,14,17,21 11:12,
  19 12:1,4 51:8 54:2,13                  inaudible 25:17                                            J
 hardship 36:17                           incident 18:12 40:13
                                                                                 J.F.K. 2:3
 head 18:22 19:3,7 23:7 40:2              inclusion 6:15
                                                                                 JACKSON 2:8
 headache 34:24                           incomplete 27:8
                                                                                 January 20:16 39:9,12
 heads 42:2                               increase 54:15
                                                                                 Jenkintown 29:16 30:21 31:1 32:17




www.LexitasLegal.com/Premier                             Lexitas
                                                         Lexitas888-267-1200· · ·Index: front–Jenkintown
                                                                                         JA000608
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 69 of 132
                                         Kaitlyn O'Neill - March 23, 2022

  39:2                                     located 10:7                            message 40:13 51:2
 job 13:2 20:13 24:2                       location 8:12                           Michelle 20:24
 John 15:15 29:9 30:11 37:22,24            long 7:13 27:17 28:2,13 30:8 38:9       Michigan 6:18
                                            39:16
                                                                                   mid 18:17 22:1
                    K                      long-term 39:8
                                                                                   migraine 50:8,9
                                           longer 20:12 36:5
 Kaitlyn 3:3 4:9 23:19 35:4 46:9 49:18                                             migraines 46:21 54:16
                                           looked 24:6 25:18
 Kathy 33:18,21 45:24 46:9,14                                                      military 8:20
                                           lost 53:3
 Kerchner 4:22                                                                     minute 14:1 19:11 37:21
 Kerchner's 4:18                                                                   minutes 37:14
                                                            M
 Kevin 16:9 17:18 24:22 27:12 51:3                                                 missed 34:22
  55:2,4                                   Mack 4:16 5:4 7:12,13,16 8:3,17,18      MK'D 3:11
                                            12:10,15,20,22 14:2,3 19:13,16 20:9,
 kind 16:1 25:21 37:8 49:23                                                        modeling 24:17,20 27:5
                                            12,21 22:20 28:22,23 29:8 33:14
 King 20:3,18 40:14,19 41:6 45:24           37:21 40:5 41:12,23 44:5,19 45:3,23    moment 18:12 29:7
  52:22                                     47:17,19 49:1,16 50:22 52:13 53:11
                                            54:10 56:6,15 57:16                    money 24:18
 knowing 44:2
                                           Macungie 10:8                           monitor 35:2
 knowledge 12:5,6 13:3 29:4 39:1,18
  40:1 43:3 44:4 47:4 54:10                made 12:15 14:24 23:15 31:23 36:16      Moody 2:8 21:11,14 37:11 50:15,18
                                                                                    53:3 56:16 57:22,24 58:5
                                           Main 2:9
                    L                                                              motive 18:9
                                           make 11:6,23 12:3 23:4 25:22 26:16
                                                                                   move 22:13 30:11 45:20
 labor 6:13 8:1 15:15,18,24                making 6:1,3,6 34:5 47:22 48:19
                                                                                   moved 15:4 35:22 36:8
 laid 36:1                                 manager 8:1 15:16,18 23:3
                                                                                   movement 45:6
 large 35:24 36:6                          manner 51:10 52:2
                                                                                   movements 36:6
 LAW 2:3                                   manpower 34:2,9
                                                                                   moves 34:11
 lawsuit 4:15 14:3                         March 33:17 46:14,18
                                                                                   moving 43:12
 layoff 36:1,8,10 43:9 45:11               marked 3:12 14:1 37:21 40:5 41:12
                                            45:23                                  multiple 7:23
 leader 41:21
                                           Markell 20:4,6 45:24 49:17,21           Muto 25:4 27:16,19,23 28:6 29:10
 learned 36:22                                                                      30:7 33:18 37:22 39:19 52:22
                                           marks 37:2
 learning 6:23 7:1                                                                 Muto's 29:5
                                           Master's 5:9,19,21 6:9
 leave 15:2,11 16:3 17:21 27:15 28:15
                                           matches 38:7                                              N
 left 19:7 20:16
                                           matter 5:4
 Lehigh 29:18 30:22                                                                nature 6:2
                                           means 53:2
 length 28:7                                                                       necessarily 51:19
                                           medical 18:15 19:1,4 23:6,7 33:10
 level 15:22,24 24:1 28:5                   47:22 48:20                            needed 27:10 51:11
 levels 15:23 34:6                         meeting 47:15 49:7                      negotiated 29:2
 LEWIS 2:8                                 memory 16:13 22:7 26:24 35:10           negotiations 15:21
 limited 32:13                              38:13
                                                                                   neuro 23:20
 lines 8:10 27:9                           mention 43:13
                                                                                   neurologist 22:10 25:10 29:14
 listed 54:1                               mentioned 34:19 35:8 55:1                30:17,20 31:4 32:4,6,17 38:14 39:1




www.LexitasLegal.com/Premier                              Lexitas 888-267-1200· · ·Index:JA000609
                                                                                          job–neurologist
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 70 of 132
                                          Kaitlyn O'Neill - March 23, 2022

 Newman 9:23 15:6,10                                                           personal 24:1
                                                               P
 non-work-related 38:22                                                        perspective 30:5
 notes 11:1 26:16                           P.C. 2:8                           Pesola 22:24 23:18 24:16 25:6 29:10
                                                                                33:18 37:23 52:15,24
 notified 37:24                             p.m. 58:11
                                                                               Pesola's 24:4
 November 7:15,17 39:10                     paid 23:11 24:2,17 25:5 28:14,17
                                                                               Philadelphia 2:4
 number 3:11 10:24 11:1,22 13:22            paper 55:16 56:1
  36:1 38:1,2,3 50:16 53:2,17,19                                               Philly 29:17
                                            paperwork 7:23 21:3 27:8,9 36:23
 nurse 33:22                                 38:8,19 40:20 41:7 48:11,22       phone 30:15 31:15,22 43:13 51:17,
                                                                                18 52:7
 NWR 38:19                                  parenthesis 29:17 38:1 46:22
                                                                               photographs 25:24 26:6
                                            parked 17:24
                    O                                                          photos 24:24 25:2,15,18
                                            part 29:2
                                                                               pills 35:1
 O'CONNELL 52:15,16                         partial 28:18,19
                                                                               Plaintiff 2:5
 O'NEILL 3:3 4:9,14 5:7 13:19 14:4          parties 4:3
  19:12 21:17 37:19 38:24 39:18 41:12                                          planning 8:8
                                            partner 8:5,6,13
  46:4 48:6 50:22,23 52:12 53:12 57:21                                         point 45:6 49:23
  58:1                                      partners 7:21 8:1 9:5,11 10:4
                                                                               points 42:4 43:18
 Objection 21:11 37:11 56:16                pass 7:2
                                                                               policy 47:18,19
 objections 4:5                             Patrick 52:15
                                                                               polite 51:6
 obtain 5:13,19,21 6:16,22 7:4 22:16        Paul 57:1,8
                                                                               position 7:17 41:22 45:19,21
 obtained 16:11 56:8 57:7                   pay 28:19
                                                                               positions 8:2
 obtaining 30:4                             paying 31:6
                                                                               possibly 9:15 15:15
 occurred 18:17 40:15                       payment 28:18 48:12
                                                                               posted 25:24 26:2,5,7
 off-the-record 53:7                        payout 49:13
                                                                               predominately 38:19
 office 9:24 47:8,11                        payroll 20:7
                                                                               present 4:17 15:21 18:20 39:13
 OFFICES 2:3                                peers 10:2,3 35:12 37:4             47:11
 officially 33:9                            pending 6:14                       pretty 16:23 55:6
 online 6:23 24:23                          Penn 5:14,20                       previous 54:24
 OOW 50:8                                   Pennsylvania 2:4 31:1              primary 34:8,9
 open 10:1,6                                people 34:7,13,19 35:7 42:6 43:6   Prior 27:11
                                             45:7,15
 operations 41:24                                                              proceed 15:3
                                            percent 15:16 19:10 55:12
 opinion 22:14,17 23:20,22 24:15                                               process 11:15 23:8 48:2,4
  25:9 27:17 28:7 29:21 30:2,5,8,12,16,     perfectly 11:6 41:4
  19,20,24 31:5,20 32:7,9,14,16,23                                             processed 48:11
  33:3,6 38:15,24
                                            perform 13:5 32:13
                                                                               processing 48:13
 order 19:19                                performing 17:20
                                                                               procure 25:9
 orders 47:13                               performs 13:2
                                                                               produced 14:3
 Organizational 6:11                        period 22:1 28:15
                                                                               production 8:15
 Owenberg 57:11                             permanent 45:19
                                                                               production-related 13:2
                                            person 14:12,13 15:19 20:7 30:21
                                             42:19 56:5,11,14,23               profanity 52:5




www.LexitasLegal.com/Premier                               Lexitas
                                                                888-267-1200· · ·Index: Newman–profanity
                                                                                          JA000610
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 71 of 132
                                       Kaitlyn O'Neill - March 23, 2022

 professional 27:17 30:7 32:14 51:6      received 11:18 53:1,16                  represent 4:15 20:24 24:8
 professionally 51:9                     receiving 27:11                         representation 55:21
 program 5:22 6:24 44:7,11,15,21         recent 48:12 53:22                      representative 13:7 34:14
  56:9
                                         recess 37:16                            representatives 15:20
 prompt 51:15
                                         recognize 14:4                          Representing 2:5,10
 proper 7:6 48:13
                                         recollection 32:10 36:7 44:12 52:1      request 38:24 57:9
 protection 47:13
                                         record 53:5                             requested 9:4 11:3 17:11
 provide 32:6
                                         recover 31:8                            require 28:1
 provided 14:19,20 17:3,15,16 28:23
                                         recruitment 8:8                         required 23:16 36:9
  33:4 38:15
                                         red 50:9                                requires 42:17
 providing 18:7
                                         reduction 36:6                          reserved 4:6
 purpose 13:24 30:4
                                         refer 47:6                              resignation 49:4,5,10,11
 put 26:1 37:1
                                         reference 30:1 40:18 55:16              resigned 49:2
                    Q                    referenced 30:21                        resolved 39:5
                                         referencing 54:11                       resources 6:14 7:8 31:8,10
 quality 8:15
                                         referred 38:23                          respective 4:2
 question 21:17 25:21
                                         referring 14:10 22:20 45:14 47:7,10     response 22:12,23 24:4 31:11,13
 QUESTIONED 3:4                           54:20                                   49:19
 questions 4:6 7:22 8:9 11:10 13:20      refuse 31:19                            responsibility 34:8,9
  16:22 41:13 46:5 57:20,22,24
                                         refuses 29:22                           responsible 10:10 34:5,11
 quick 37:12
                                         related 41:5                            restriction 32:19
 quotation 37:2
                                         relations 8:7                           restrictions 32:15
 quote 35:2
                                         release 33:8                            result 36:8,10 44:14,20 45:10
                    R                    released 32:18                          retained 32:16
                                         remain 51:6                             return 30:9 32:18,21,22 33:2 38:4,16
 Randy 2:8 50:17                                                                  39:5 54:12
                                         remember 7:3 18:23 26:13 28:5,9,11
 randy.moody@jacksonlewis.                31:2,13 32:9,11 33:5 35:18 40:20       returned 38:11,14 39:7,20
 com 2:10                                 42:12,14 44:19 47:9 49:12 51:14 52:7
                                                                                 review 13:19 39:17
                                          55:23 56:7,23 57:2,3
 reach 31:22 55:9
                                                                                 reviewed 12:8
                                         rep 10:17,22 11:11,13,16,19 12:4,24
 reached 54:23 55:2,15,19 56:2
                                          13:4,6,9 31:23,24 55:3                 reviewing 27:12
 read 16:20,21 21:5 23:14 29:23 35:4
                                         rephrase 17:4                           Richard 33:19 34:1 43:1
  46:23 51:11 54:3,16 58:6
                                         replied 45:5                            Rivera 12:13,16,18 13:9,12
 reading 19:21
                                         reply 24:16 39:24                       role 8:4 12:22 13:7,9 41:24
 ready 33:7 40:7
                                         report 9:22 14:7,18,22 16:18 17:1,      roles 7:23
 reason 18:9 37:1 43:22 56:13 57:8
                                          11,22,23 19:5,9 23:14 24:9,10 32:10
 reasons 27:14                            36:19
                                                                                 rough 39:13

 recall 12:17 18:12 24:6 36:18 43:16     reported 17:14 18:15 23:6               roughly 6:24 36:2
  51:19 54:22 55:22                                                              rude 51:8,10,21,24
                                         REPORTER 58:2
 receive 16:1 26:20                                                              run 7:22
                                         reports 7:22 16:4 25:14



www.LexitasLegal.com/Premier                            Lexitas
                                                        Lexitas888-267-1200· · ·Index: professional–run
                                                                                       JA000611
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 72 of 132
                                          Kaitlyn O'Neill - March 23, 2022

                                            SHORE 2:3                             spreadsheet 49:24 50:3
                   S
                                            short 51:22,24                        staffing 34:6 36:9
 Salvino 54:6,7                             short-term 22:3,5 27:8                stand 38:20
 SAP 38:3                                   Shortly 49:11                         start 17:7 19:17 20:2 34:18 48:16
                                                                                   50:16 53:11
 scheduled 21:9 38:4                        shortness 31:17
                                                                                  started 7:14 46:16
 Schmidt 33:19 34:1,4,5                     show 19:13
                                                                                  starting 25:16 27:19
 Schmidt's 43:2                             showed 33:12
                                                                                  State 5:14,15,20 6:18
 school 5:8                                 shown 40:23
                                                                                  stated 16:4 19:4 51:19
 screen 13:18 18:11 19:12 37:19             sickness 28:20 29:1 37:4 53:23
  41:11 49:15                                                                     states 56:20
                                            sign 58:6
 scroll 16:19 19:20,24                                                            stating 23:6 37:4 48:22
                                            signature 41:1
 sealing 4:3                                                                      step 39:18
                                            signed 46:1,9
 search 24:23                                                                     steps 23:16
                                            significant 25:5
 secretary 20:20                                                                  stipulated 4:1
                                            significantly 36:3
 section 42:8                                                                     stop 18:11
                                            simply 24:14
 send 29:15 46:11 48:11                                                           Street 2:9
                                            sit 43:7
 sending 45:1                                                                     strictly 13:6
                                            sitting 11:5,7 31:2
 senior 42:19                                                                     strike 44:18
                                            skeptical 25:12 27:14
 seniority 36:4 42:6,18,23 43:5                                                   string 19:13
                                            skills 39:17
 sentence 38:18 43:17                                                             strip 16:5,6 17:9,14 18:4 24:22 25:15
                                            Skype 40:12 51:2
                                                                                   26:12 27:2
 September 24:10 38:12 39:4                 slash 20:20 53:23
                                                                                  subjective 23:21
 serves 16:13 35:10 38:13                   small 9:2
                                                                                  subjectivity 23:23
 services 17:16                             sound 18:18,19 53:3
                                                                                  submitted 36:23 49:5
 set 29:21                                  sources 26:21
                                                                                  subpoenaed 47:20
 setting 30:15                              South 2:9
                                                                                  succession 8:8
 sexism 54:13                               space 10:1,6
                                                                                  suffering 37:7
 sexual 10:11,14,17,20 11:12,18,24          speak 29:20 32:10
  12:4                                                                            Suite 2:9
                                            speaking 10:17 11:13
 share 9:5 10:1 13:18 19:12 34:18                                                 supervisor 11:16,19 35:11 54:23
  37:19 41:11 49:15,22                      special 9:2                            56:3

 shared 10:6 17:18 18:9                     specialist 7:8 23:20 30:24 31:7       supervisors 55:23
 sharing 18:11                              specialty 29:5                        support 7:24 8:9,16 9:8,19
 Shiffert 33:18,21 37:23 45:24 52:22        specific 7:6 8:12 9:3 14:10 26:4,13   supported 7:21
                                             42:14 48:12
 shift 8:16 34:20,21,23 35:4,9,21,23                                              supporting 8:14 9:13
  36:5,8,13,17 37:5 41:20 42:9,19 43:6,     specifically 9:8 44:23 54:22
                                                                                  surveillance 16:18 23:24 24:6,9
  12,15 44:3 45:6,7,15 47:24                specificity 28:6                       56:8 57:7,10
 shifts 8:17                                specifics 28:9 43:7 51:18 52:7        sworn 4:10
 Shipkin 38:23 39:1                         spoke 14:12 20:23 55:24               system 19:9
 shop 16:10,14,15 36:4                      spot 45:21



www.LexitasLegal.com/Premier                               Lexitas 888-267-1200· · ·Index: JA000612
                                                                                            Salvino–system
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 73 of 132
                                          Kaitlyn O'Neill - March 23, 2022

                                            Tolame 15:15 29:9 30:11 37:22           victimization 54:14
                    T
                                            tone 51:10,22 52:1                      VIDEO 2:13
 takes 35:1                                 Tony 54:6                               violations 54:14
 taking 11:21 37:12 42:3                    top 40:2                                visible 24:24
 talk 27:4 40:7 47:2                        transfer 42:9 46:4
                                                                                                       W
 talked 31:3                                treated 22:9
 talking 11:19 21:1 27:16 30:10             treatment 54:15                         waived 4:4
 targeting 54:14                            trial 4:7                               wanted 31:9 34:18 44:2 52:24 53:15,
                                            trucks 4:16 5:4 7:12,13,16 8:3,20 9:3    21
 team 8:9 41:20
                                             12:10,15,20,23 14:3 20:9,12,21 22:20   wanting 35:21
 TECHNICIAN 2:13                             28:23 41:23 44:5,20 45:3 47:17,19
                                             49:1 56:6 57:16                        WC390E11428 53:1,16
 technology 50:19
                                            two-page 52:14                          website 25:1
 telephoned 41:6
                                            type 13:5                               week 6:24 13:11 26:3 43:9
 telephoning 40:19
                                            typically 30:8                          weeks 38:10
 temporary 45:12,18
                                            typo 46:21                              wondering 22:18 29:14
 temps 45:8,10,16
                                                                                    word 37:1 56:15,18
 term 14:15 56:21
                                                              U                     work 7:11 9:3 13:5,13,16 15:2 17:20
 terminate 56:10
                                                                                     18:13 19:7 21:9,20 22:1,19 26:23
 terminated 44:10,14,19 48:24 56:24         Uh-huh 20:5                              27:18,21 28:2 30:9,10,13 31:9 32:14,
  57:4,14                                                                            18,22 33:2,7,23 34:7,22 35:12,21
                                            unaware 39:7
                                                                                     37:5 38:4,5,11,16 39:5,7,10,12,13,20
 termination 24:3 44:7 56:13
                                            understand 17:5 21:16 27:22              43:1,19 44:2 50:9 51:9 54:2,12 57:16
 test 7:4                                                                           work-related 38:21
                                            understandable 25:22
 testified 4:11 5:3 18:21                                                           worked 7:13 39:14,16
                                            understanding 4:17 12:7 18:16
 testimony 5:1 26:9 48:18                    19:2
                                                                                    workers 45:12
 testing 7:1                                unfair 54:14
                                                                                    Workers' 23:2,4,9,11 53:18 54:8
 things 7:23 26:5                           union 10:17,22 11:11,13,16,19 12:4,
                                                                                    workforce 8:7 36:6
                                             24 13:4,9 15:20,22 29:3 31:23,24
 thought 17:15                               34:14,15 42:23 55:3,21                 working 13:4 16:5,6 17:9,14 18:4,22
 thoughts 23:24                                                                      19:8 24:22 25:14 26:12 27:2 34:21
                                            University 5:14,20 6:18
                                                                                     35:4 36:3
 thousand 9:15                              Urvan 35:13
                                                                                    works 15:19 20:19
 thread 25:7 41:16                          utilizing 56:8
                                                                                    World 5:20
 Tim 9:23 15:6,9
                                                                                    worries 50:18
 time 4:6 6:1 7:20 11:21 15:16 17:21                          V
  21:8 22:19 24:7,20,21 25:12 26:10,13                                              WR 38:19
  27:15,24 28:7 32:1 34:4 35:11 43:4,8,     vacation 49:13                          write 51:4 52:9
  24 45:1,7,15,19,20 47:21 48:19
  49:10,11 51:16 55:21 57:21                Valley 29:19 30:23                      writes 20:23
 times 10:20 11:8,11,17 44:17,18            varies 38:19                            writing 54:11
  51:20                                     vehicle 8:15                            written 55:16,24
 title 34:3                                 versed 45:17                            wrote 43:17
 today 4:16 11:5,7 14:20 31:2 34:24         victim 47:3
  42:3,4 53:1,16




www.LexitasLegal.com/Premier                               Lexitas        888-267-1200· · ·Index: takes–wrote
                                                                                              JA000613
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 74 of 132
                                   Kaitlyn O'Neill - March 23, 2022


                  Y

 year 6:7 7:14 20:17 26:14 39:15
  48:14
 yelling 31:18
 yield 7:22

                  Z

 Zielke 2:13
 Zoom 58:10




www.LexitasLegal.com/Premier                   Lexitas      888-267-1200· · ·Index: year–Zoom
                                                                               JA000614
                  Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 75 of 132


From: Pesola Gloria (Consultant)
Mail received time: Fri, 16 Aug 2019 15:20:47
Sent: Fri, 16 Aug 2019 15:20:46
To: Muto Alan (Consultant) O'Neill Kaitlyn King Diane
Cc: Ptolemy John
Subject: RE: RE: Colleen Behm A&S
Importance: Normal
Sensitivity: None


Agreed

From: Muto Alan (Consultant) <alan.muto@consultant.volvo.com>
Sent: Friday, August 16, 2019 8:22 AM
To: O'Neill Kaitlyn <kaitlyn.oneill@volvo.com>; Pesola Gloria (Consultant) <gloria.pesola@consultant.volvo.com>; King Diane
<diane.king@volvo.com>
Cc: Ptolemy John <john.ptolemy@volvo.com>
Subject: RE: RE: Colleen Behm A&S

I am not sure it is significant that she is being paid. To me it is the activity she is engaged in.

Alan Muto, D.O.
Attending Physician
Mack Trucks Health Center

Mack Trucks
Health Center
7000 Alburtis Road
Macungie, PA 18062
Telephone: 610-966-8878
Email: alan.muto@consultant.volvo.com




This email message and any attachments may contain confidential information and may be privileged. If you are not the
intended recipient or otherwise not authorized to receive this message, you are prohibited to use, copy, disclose or take any
action based on this email or any information contained herein. If you are not the intended recipient, please advise the
sender immediately by replying to this email and permanently delete this message and any attachments from your system.

From: O'Neill Kaitlyn <kaitlyn.oneill@volvo.com>
Sent: Friday, August 16, 2019 8:14 AM
To: Pesola Gloria (Consultant) <gloria.pesola@consultant.volvo.com>; King Diane <diane.king@volvo.com>
Cc: Ptolemy John <john.ptolemy@volvo.com>; Muto Alan (Consultant) <alan.muto@consultant.volvo.com>
Subject: RE: RE: Colleen Behm A&S

I know she is modeling but it’s know if she is getting paid for it. She could be charging money or she may not be.

From: Pesola Gloria (Consultant) <gloria.pesola@consultant.volvo.com>

            Behm v. Mack Trucks, et al.                                                               MACK0812
                                                                                                          JA000615
                   Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 76 of 132
Sent: Friday, August 16, 2019 8:13 AM
To: O'Neill Kaitlyn <kaitlyn.oneill@volvo.com>; King Diane <diane.king@volvo.com>
Cc: Ptolemy John <john.ptolemy@volvo.com>; Muto Alan (Consultant) <alan.muto@consultant.volvo.com>
Subject: RE: RE: Colleen Behm A&S

Hi Kaitlyn:

It will take a while to get a 2nd opinion from a neuro specialist. Also, concussions are so subjective, that I am not sure we
would get a favorable opinion anyway due to the subjectivity of the diagnosis, etc. My thoughts are to get surveillance on her
to see what she is doing on a personal level. If she is going to a 2nd job, getting paid, etc. that would be grounds for
termination.

Thoughts everyone?

Thanks,
Gloria

From: O'Neill Kaitlyn <kaitlyn.oneill@volvo.com>
Sent: Thursday, August 15, 2019 10:13 AM
To: King Diane <diane.king@volvo.com>
Cc: Ptolemy John <john.ptolemy@volvo.com>; Muto Alan (Consultant) <alan.muto@consultant.volvo.com>; Pesola Gloria
(Consultant) <gloria.pesola@consultant.volvo.com>
Subject: RE: RE: Colleen Behm A&S

I’m curious, how can we move ahead with getting a second opinion done?

Kaitlyn

From: King Diane <diane.king@volvo.com>
Sent: Thursday, August 15, 2019 10:06 AM
To: O'Neill Kaitlyn <kaitlyn.oneill@volvo.com>; Markell Dee <dee.markell@volvo.com>
Subject: RE: Colleen Behm A&S

Spoke with Michelle from EE’s doctor. She said that Brent Calhoun filled out her paperwork and he
initialed it. I do see the initials of BC above the date, they conformed everything on their end.

Diane King
Administrative Medical Assistant
Mack Trucks Health Center

Mack Trucks
Health Center
7000 Alburtis Road
Macungie, PA 18062
Telephone: 610-966-8878
Email: Diane.King@volvo.com




              Behm v. Mack Trucks, et al.                                                           MACK0813
                                                                                                        JA000616
          Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 77 of 132


From: Ptolemy John
Mail received time: Fri, 10 May 2019 15:57:38
Sent: Fri, 10 May 2019 15:57:37
To: Pesola Gloria (Consultant)Newman Timothy (d)
Cc: Muto Alan (Consultant)
Subject: RE: Restrictions for Colleen Behm Attached
Importance: Normal
Sensitivity: None


___________________________________
Gloria,

Maria and Annette are coming over to take her over to maintenance.

Hopefully we can sort this out.

John

-----Original Message-----
From: Pesola Gloria (Consultant) <gloria.pesola@consultant.volvo.com>
Sent: Friday, May 10, 2019 9:48 AM
To: Newman Timothy (d) <timothy.d.newman@macktrucks.com>
Cc: Muto Alan (Consultant) <alan.muto@consultant.volvo.com>; Ptolemy John <john.ptolemy@volvo.com>
Subject: RE: Restrictions for Colleen Behm Attached

Tim:

As expected she is giving us a major problem going back to work. She is here with her union rep. States she was
told by ER to stay home & rest and she has a migraine and does not want to be around noise or lights.

I think we need someone from HR here to speak with her and her union rep. She called Dr. Muto a veterinarian and
talked about me when I wasn't in the room, etc.

Thanks,
Gloria

-----Original Message-----
From: Newman Timothy (d) <timothy.d.newman@macktrucks.com>
Sent: Friday, May 10, 2019 9:26 AM
To: Pesola Gloria (Consultant) <gloria.pesola@consultant.volvo.com>
Subject: Re: Restrictions for Colleen Behm Attached

Drew Kuhn

Sent from my iPhone

> On May 10, 2019, at 9:25 AM, Pesola Gloria (Consultant) <gloria.pesola@consultant.volvo.com> wrote:
>
> Ok, Tim. Thank you. Where and who (supervisor) should she report to?
>
> Thanks,
> Gloria




Behm v. Mack Trucks, et al.                                                                      MACK0814
                                                                                                    JA000617
                 Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 78 of 132


From: O'Neill Kaitlyn
Mail received time: Thu, 29 Aug 2019 18:22:07
Sent: Thu, 29 Aug 2019 18:22:06
To: Ptolemy John Newman Timothy (d)
Cc: Pesola Gloria (Consultant) Muto Alan (Consultant)
Subject: 2nd opinion Dr - C.Behm
Importance: Normal
Sensitivity: None


Hello

I was just wondering if we can find a closer neurologist for Colleen Behm to see? I feel that having to send an employee all
the way down to Jenkintown (greater Philly area) is just difficult. Is there not someone in the Lehigh Valley area that we can
get her in with?

Also, what happens when I call and speak with Colleen about us having set up a 2nd opinion dr appt for her and she refuses to
go, what do we do?

______________________________
Kaitlyn O’Neill, CLRL
Mack Trucks, Inc
Human Resources Business Partner
Phone: 610-966-8016
Mobile: 610-390-2766
Email: kaitlyn.oneill@volvo.com




           Behm v. Mack Trucks, et al.                                                                MACK0830
                                                                                                         JA000618
                  Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 79 of 132


From: O'Neill Kaitlyn
Sent: Wednesday, March 4, 2020 7:57:54 PM
To: Muto Alan (Consultant) Pesola Gloria (Consultant) Shiffert Kathy
Cc: Schmidt Richard
Subject: Colleen Behm
Importance: Normal
Sensitivity: None



Hello

I just wanted to start an email communication to share that Colleen had mentioned to people that if she goes on and shift she will
apply for A&S, as she doesn't want to be working that shift.
She already has missed 7 days of work since 2/14/2020 (right when she went to 2nd shift) and I know you sent her home today
due to headache and pills she takes.

I'd like us to be careful and monitor what "illnesses" she is claiming as I think she may try anything to get out of working 2nd shift.

Regards,
Kaitlyn

Sent via the Samsung Galaxy S9, an AT&T 5G Evolution capable smartphone
Get Outlook for Android




            Behm v. Mack Trucks, et al.                                                                     MACK0839
                                                                                                                JA000619
                 Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 80 of 132


From: Muto Alan (Consultant)
Sent: Friday, February 5, 2021 8:55:23 AM
To: Ptolemy John O'Neill Kaitlyn
Cc: Shiffert Kathy Pesola Gloria (Consultant)
Subject: Colleen Behm
Importance: Normal
Sensitivity: None


John,
We were just notified that Colleen Behm (450939) is scheduled to RTW 2/16/21. It appears she has been OOW since
5/12/2019. Her A&S paperwork varies from WR to predominately NWR. She was referred to Dr. Shipkin for a second opinion at
our request, He determined on 9/17/2019 that she was completely resolved and could RTW full duty. However, I do not see
that she ever returned to work. I am also unaware if she is on or been approved for LTD. Colleen was hired 1/2/2018. She first
went OOW around 8/13/2018 until 11/8/2018 then 12/5/2018 she again went OOW until 1/18/2019. She then went OOW
5/13/2019 to present. Therefore, a rough calculation indicates that she has worked approximately one year out of three. It
appears that she hasn’t worked long enough to develop any skills. Please review and discuss what would be our next step.



Alan Muto, D.O.
Attending Physician
Mack Trucks Health Center

Mack Trucks
Health Center
7000 Alburtis Road
Macungie, PA 18062
Telephone: 610-966-8878
Email: alan.muto@consultant.volvo.com




This email message and any attachments may contain confidential information and may be privileged. If you are not the
intended recipient or otherwise not authorized to receive this message, you are prohibited to use, copy, disclose or take any
action based on this email or any information contained herein. If you are not the intended recipient, please advise the
sender immediately by replying to this email and permanently delete this message and any attachments from your system.




           Behm v. Mack Trucks, et al.                                                               MACK0848
                                                                                                        JA000620
                    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 81 of 132


From: O'Neill Kaitlyn
To: King Diane O'Neill Kaitlyn
Subject: Conversation with King Diane
Importance: Normal
Sensitivity: None


O'Neill Kaitlyn 8:38 AM:
 Hi Diane
 I was wondering if you or someone else there in medical can call the doctors office on Colleen Behm's paperwork that Dee just
 emailed us about. We think it's slightly suspicious with handwriting and fax numbers. I would like to know if they had recent
 communication from Colleen requesting updated paperwork or not.
King Diane 8:42 AM:
 Kaitlyn I will speak to Gloria reg. this. Will let you know the out come
O'Neill Kaitlyn 8:42 AM:
 okay thank you
King Diane 8:42 AM:
 no problem




             Behm v. Mack Trucks, et al.                                                                MACK0849
                                                                                                           JA000621
                 Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 82 of 132


From: Daley Daniel
Sent: Tuesday, February 25, 2020 5:45:22 PM
To: O'Neill Kaitlyn
Subject: RE: Colleen Behm
Importance: Normal
Sensitivity: None



At this point with the movement to 2nd shift, if there are any people on dayshift with less time, they are most likely temps.

Dan


From: O'Neill Kaitlyn <kaitlyn.oneill@volvo.com>
Sent: Tuesday, February 25, 2020 3:19 PM
To: Daley Daniel <daniel.daley@volvo.com>
Subject: Colleen Behm

Hi Dan

Just a heads up that Colleen Behm called out again today – taking her to 6 points.

She also called me again today asking about why her article 9 wasn’t approved - she is claiming that she has more seniority
over people on first.
So she since she is at 6 points who knows what she will try to claim injury wise in work or out of work to get placed out
completely. We’ll just need to monitor her

______________________________
Kaitlyn O’Neill, CLRL
Mack Trucks, Inc
Human Resources Business Partner
Phone: 610-966-8016
Mobile: 610-390-2766
Email: kaitlyn.oneill@volvo.com




           Behm v. Mack Trucks, et al.                                                                MACK0968
                                                                                                         JA000622
          Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 83 of 132



Sent: Tuesday, March 31, 2020 12:58:01 PM
To: King DIaneMarkell DeeShiffert Kathy
Subject: RE: colleen Behm A&S
Importance: Normal
Sensitivity: None


___________________________________
Hi Kathy,

Can you please help Dee and I figure out what they are trying to explain with when the condition started. It's
almost appearing that she was assaulted on 5/11/19 and 3/4/2020, is that what they are saying? I'm not sure that is
the case as I think the new condition that Colleen is trying to claim in migraines and anxiety (which she is claiming
never went away from her attack on 5/11/2019).

Can we ask the doctor to clarify better and to initial when they make updates to the paperwork?

Kaitlyn

-----Original Message-----
From: King DIane <diane.king@volvo.com>
Sent: Tuesday, March 31, 2020 12:15 PM
To: Markell Dee <dee.markell@volvo.com>; Administration Macungie Human Resources
<Adm.macungiehr@volvo.com>
Cc: O'Neill Kaitlyn <kaitlyn.oneill@volvo.com>
Subject: colleen Behm A&S

Here is another copy of Colleen Behm's ;paperwork.

This email and any attachments may be confidential or legally privileged. If you received this message in error or
are not the intended recipient, you should destroy the email message and any attachments or copies, and you are
prohibited from retaining, distributing, disclosing or using any information contained herein. Please inform us of
the erroneous delivery by return email. Thank you for your cooperation.


Diane King
Administrative Medical Assistant
Mack Trucks Health Center

Mack Trucks
Health Center
7000 Alburtis Road
Macungie, PA 18062
Telephone: 610-966-8878
Email: Diane.King@volvo.com



-----Original Message-----
From: Diane King <diane.king@volvo.com>
Sent: Tuesday, March 31, 2020 12:08 PM
To: King DIane <diane.king@volvo.com>
Subject: Message from "RNP002673F1572B"




Behm v. Mack Trucks, et al.                                                                            MACK0978
                                                                                                          JA000623
                                                                  Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 84 of 132



From:                         Markell Dee
Sent:                         Wednesday, April 1, 2020 2:54 PM
To:                           O'Neill Kaitlyn
Subject:                      Colleen Behm status?



Hi Kaitlyn,

I was just checking to see if you got a response on the A&S....
I am doubting the will call the doctor.

As this is on their Share point.




Best Regards,
Dee Markell
HR Coordinator
Human Resources

Mack Trucks / Lehigh Valley Operations
7000 Alburtis Road
Macungie, PA 18062

Phone: 610-966-8837
Mobile: 484-793-5860
Email: dee.markell@volvo.com




                                                                                                  1

       Behm v. Mack Trucks, et al.                                                                                                     MACK1175
                                                                                                                                         JA000624
               Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 85 of 132



From:                             Pesola Gloria (Consultant)
Sent:                             Wednesday, March 18, 2020 1:58 PM
To:                               O'Connell, Patrick J
Cc:                               Pesola Gloria (Consultant); Muto Alan (Consultant); Shiffert Kathy; King DIane
Subject:                          Colleen Behm WC390E11428
Attachments:                      20200318131412285.pdf

Importance:                       High


Hey Pat:

Just wanted you to see what we received today on Colleen Behm WC390E11428. I know this claim is denied; however, I
wanted you to be aware that on her most recent A&S form which is attached she has checked that this sickness/injury is
due to her employment with the company. Also, look at the complaints listed on the bottom of this form....hostile work
environment; harassment, etc.

Please advise if we need to do anything or discuss with Tony Salvino. I know that our HR team will be reaching out to
their employment law attorney as well.

Thank you,
Gloria

-----Original Message-----
From: Gloria Pesola <gloria.pesola@consultant.volvo.com>
Sent: Wednesday, March 18, 2020 1:14 PM
To: Pesola Gloria (Consultant) <gloria.pesola@consultant.volvo.com>
Subject: Message from "RNP002673F1572B"

This E-mail was sent from "RNP002673F1572B" (MP C3504ex).

Scan Date: 03.18.2020 13:14:12 (-0400)




                                                            1

        Behm v. Mack Trucks, et al.                                                                  MACK1179
                                                                                                        JA000625
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 86 of 132




Behm v. Mack Trucks, et al.                                     MACK1180
                                                                  JA000626
              Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 87 of 132



From:                              O'Neill Kaitlyn
Sent:                              Wednesday, March 25, 2020 12:04 PM
To:                                Fronheiser Kevin; O'Neill Kaitlyn
Subject:                           Conversation with Fronheiser Kevin



 O'Neill Kaitlyn 11:38 AM:

   hey can you please have a conversation with COlleen Behm that she needs to remain professional and polite during
   her communication with us? if she continues to interact in a rude way i will discipline her for harassment. i'm trying
   to work with her as professionally as i can but her inappropriate tone and rude manner is not needed or appropriate
 Fronheiser Kevin 11:54 AM:
   ya she got that way with me too
 O'Neill Kaitlyn 11:55 AM:
   like i'm trying to work with her as best i can but the rude behavior with everyone is just not appropriate now or ever
 Fronheiser Kevin 11:57 AM:
   i hear you and thank you
 O'Neill Kaitlyn 11:57 AM:
   no problem. it's not like we are trying to be difficult but just trying to stay consistent and follow processes
 Fronheiser Kevin 11:59 AM:
   i know    its crazy




                                                               1

        Behm v. Mack Trucks, et al.                                                                     MACK1202
                                                                                                            JA000627
  Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 88 of 132



   	  




   	    	            	       	         	   	   	       September	  28,	  2020	  
   	  
   	  
   	  
   SURVEILLANCE	  REPORT	  	  
   	  
   	  
   Subject:	  	  Colleen	  Behm	  	  
   Surveillance	  Date(s):	  	  09/24/20;	  09/25/20;	  09/26/20	  
   	  
   	  
   DAY	  1	  –	  Thursday,	  September	  24,	  2020	  
   	  
   	  
   2:00	  p.m.	  	  Agent	  departs	  office	  for	  West	  Lawn,	  Pennsylvania.	  
   3:15	  p.m.	  	  Agent	  arrives	  at	  216	  Halsey	  Avenue	  in	  West	  Lawn.	  
   Upon	  arrival,	  there	  are	  no	  vehicles	  observed	  in	  the	  driveway	  of	  the	  residence.	  	  
   3:40	  p.m.	  	  Agent	  departs	  for	  the	  subject’s	  suspected	  place	  of	  employment,	  
   Utopia	  Cabaret,	  located	  at	  395	  West	  Benjamin	  Franklin	  Highway	  in	  
   Douglassville.	  
   4:15	  p.m.	  	  Agent	  arrives	  at	  Utopia	  Cabaret	  in	  Douglassville.	  	  Upon	  arrival,	  the	  
   subject’s	  vehicle	  is	  not	  observed	  in	  the	  parking	  lot	  of	  the	  venue.	  	  	  
   4:30	  p.m.	  	  The	  agent	  enters	  the	  establishment	  in	  search	  of	  the	  subject.	  	  
   During	  the	  agent’s	  time	  inside,	  the	  subject	  is	  not	  observed	  dancing	  or	  working	  
   in	  any	  capacity.	  	  	  
   5:26	  p.m.	  	  The	  agent	  exits	  the	  establishment	  and	  departs	  for	  216	  Halsey	  
   Avenue.	  	  	  
   	  




   	  
Behm v. Mack Trucks, et al.                                                                                     MACK1420

                                                                                                                       JA000628
  Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 89 of 132



   	  


   5:56	  p.m.	  	  The	  agent	  returns	  to	  the	  subject’s	  residence	  located	  at	  216	  Halsey	  
   Avenue.	  	  Upon	  arrival,	  the	  agent	  observes	  a	  green	  Toyota	  RAV4	  parked	  in	  the	  
   street	  near	  the	  residence,	  but	  the	  subject’s	  vehicle	  is	  not	  present.	  	  The	  agent	  
   sets	  up	  surveillance	  at	  a	  nearby	  location.	  
   6:35	  p.m.	  	  The	  agent	  drives	  past	  the	  subject’s	  residence	  and	  observes	  her	  
   vehicle,	  a	  grey	  Nissan	  Rogue	  (PA	  Lic.	  No:	  	  #KCF-­‐3202)	  parked	  in	  the	  
   driveway.	  
   7:05	  p.m.	  	  No	  further	  activity	  is	  observed.	  	  Surveillance	  is	  terminated.	  
   8:15	  p.m.	  	  Agent	  returns	  to	  the	  office.	  	  	  
   	  
   Total	  Hours	  Day	  1:	  	  6.25	  Hours	  
   Total	  Mileage	  Day	  1:	  	  126.6	  
   Total	  Expenses	  Day	  1:	  	  $30.75	  
   	  
   	  
   Day	  2	  –	  Friday,	  September	  25,	  2020	  
   	  
   5:00	  p.m.	  	  Agent	  departs	  for	  West	  Lawn,	  Pennsylvania.	  
   6:15	  p.m.	  	  Agent	  arrives	  at	  216	  Halsey	  Avenue	  in	  West	  Lawn.	  	  Upon	  arrival,	  
   the	  subject’s	  grey	  Nissan	  Rogue	  (PA	  Lic.	  No:	  	  KCF-­‐3202)	  is	  observed	  parked	  in	  
   the	  driveway	  of	  the	  residence.	  
   6:20	  p.m.	  	  A	  female	  fitting	  the	  subject’s	  description	  is	  exits	  the	  front	  door	  of	  
   the	  residence	  with	  three	  children,	  a	  boy	  and	  a	  girl,	  appearing	  to	  be	  12	  –	  13	  
   and	  5	  –	  6	  years	  old,	  respectively,	  and	  a	  toddler	  appearing	  to	  be	  approximately	  
   2	  –	  3	  years	  old.	  	  The	  older	  children	  are	  observed	  carrying	  backpacks.	  	  The	  
   female	  and	  the	  children	  remain	  on	  the	  front	  porch	  and	  in	  the	  front	  yard	  area	  
   of	  the	  residence	  for	  approximately	  fifteen	  minutes.	  	  	  
   6:35	  p.m.	  	  A	  black	  sports	  sedan	  with	  heavily	  tinted	  windows	  approaches	  the	  
   residence	  and	  the	  older	  children	  are	  observed	  picking	  up	  their	  backpacks	  and	  
   entering	  the	  vehicle.	  	  The	  vehicle	  departs	  the	  residence	  shortly	  thereafter	  and	  
   the	  female	  returns	  to	  the	  residence	  with	  the	  youngest	  child.	  	  The	  agent	  
   observes	  minimal	  movement	  within	  the	  residence	  over	  the	  next	  several	  
   hours.	  
   10:00	  p.m.	  	  No	  further	  activity	  is	  observed.	  	  Surveillance	  is	  terminated.	  	  	  
   11:00	  p.m.	  	  Agent	  returns	  to	  the	  office.	  
   	  
   	  




   	  
Behm v. Mack Trucks, et al.                                                                                        MACK1421

                                                                                                                           JA000629
  Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 90 of 132



   	  


   Total	  Hours	  Day	  2:	  	  6	  Hours	  
   Total	  Mileage	  Day	  2:	  	  89	  Miles	  
   	  
   	  
   Day	  3	  –	  Saturday,	  September	  26,	  2020	  
   	  
   6:00	  p.m.	  	  Agent	  departs	  office	  for	  West	  Lawn,	  Pennsylvania.	  
   7:20	  p.m.	  	  Agent	  arrives	  at	  216	  Halsey	  Avenue	  in	  West	  Lawn.	  	  Upon	  arrival,	  
   the	  grey	  Nissan	  Rogue	  (PA	  Lic.	  No:	  	  KCF-­‐3202)	  is	  observed	  parked	  in	  the	  
   driveway	  and	  lights	  are	  visible	  within	  the	  residence.	  	  	  
   10:15	  p.m.	  	  No	  additional	  activity	  is	  observed.	  	  The	  agent	  departs	  for	  Utopia	  
   Cabaret	  in	  Douglassville.	  
   10:45	  p.m.	  	  Agent	  arrives	  at	  the	  Utopia	  Cabaret	  and	  enters	  the	  establishment.	  	  
   It	  is	  close	  to	  last	  call	  at	  this	  time,	  so	  the	  agent	  orders	  food	  and	  drink	  before	  
   close.	  	  During	  his	  time	  inside,	  the	  subject	  is	  not	  observed	  dancing	  or	  working	  
   in	  any	  capacity.	  	  	  
   11:15	  p.m.	  	  Surveillance	  is	  terminated.	  
   12:15	  a.m.	  	  Agent	  returns	  to	  the	  office.	  
   	  
   Total	  Hours	  Day	  3:	  	  6.25	  Hours	  
   Total	  Mileage	  Day	  3:	  	  104	  Miles	  
   Total	  Expenses	  Day	  3:	  	  $23.00	  
   	  
   	  
   	  




   	  
Behm v. Mack Trucks, et al.                                                                                             MACK1422

                                                                                                                                JA000630
Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 91 of 132




                          In the Matter Of:

                        COLLEEN BEHM vs
                          MACK TRUCKS, INC.




                        CARL KERCHNER
                          March 23, 2022




                                                              JA000631
       Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 92 of 132

                                     Carl Kerchner - March 23, 2022

                                                                                  1
·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · ·FOR THE EASTERN DISTRICT OF PENNSYLVANIA
·2
· · · · · · · · · · · · · · ·* * *
·3

·4·   ·COLLEEN BEHM,· · · · · · ·                 : NO. 21-2500
· ·   · · · · · · · · ·Plaintiff                  :
·5·   · · · · · · · · · · · · · ·                 :
· ·   · · · · · ·vs.· · · · · · ·                 :
·6·   · · · · · · · · · · · · · ·                 :
· ·   ·MACK TRUCKS, INC, et al.,                  :
·7·   · · · · · · · · ·Defendants                 :

·8· · · · · · · · · · · · · ·* * *

·9· · · · · · ·Zoom deposition of CARL KERCHNER,

10· ·beginning at 10:00 a.m., on Wednesday, March 23,

11· ·2022, before Karen A. Stevens, Court Reporter and

12· ·Notary Public, there being remotely present:

13

14

15

16

17

18

19

20

21·   ·   ·   ·   ·   ·   ·   ·   · · · · · LEXITAS
· ·   ·   ·   ·   ·   ·   ·   ·   ·999 Old Eagle School Road
22·   ·   ·   ·   ·   ·   ·   ·   · · · · Suite 118
· ·   ·   ·   ·   ·   ·   ·   ·   · · · Wayne, PA 19087
23·   ·   ·   ·   ·   ·   ·   ·   · · · ·888-267-1200

24


      www.LexitasLegal.com/Premier              Lexitas               888-267-1200· · ·
                                                                              JA000632   YVer1f
       Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 93 of 132

                               Carl Kerchner - March 23, 2022

                                                                            2
·1· ·A P P E A R A N C E S :

·2
· ·   ·   ·   ·   ·   GRAHAM BAIRD, ESQUIRE
·3·   ·   ·   ·   ·   LAW OFFICES OF ERIC A. SHORE
· ·   ·   ·   ·   ·   1500 J.F.K. Blvd., Suite 1240
·4·   ·   ·   ·   ·   Philadelphia, Pennsylvania· 19102
· ·   ·   ·   ·   ·   grahamb@ericshore.com
·5·   ·   ·   ·   ·   -- Representing the Plaintiff

·6

·7

·8·   ·   ·   ·   ·   RANDY MOODY, ESQUIRE
· ·   ·   ·   ·   ·   JACKSON LEWIS, P.C.
·9·   ·   ·   ·   ·   15 South Main Street, Suite 700
· ·   ·   ·   ·   ·   Greenville, South Carolina 29601
10·   ·   ·   ·   ·   randy.moody@jacksonlewis.com
· ·   ·   ·   ·   ·   -- Representing the Defendants
11

12

13· · · · · VIDEO TECHNICIAN: Blair Zielke

14

15

16· · · · · Also Present: Kaitlyn O'Neill

17

18

19

20

21

22

23

24


      www.LexitasLegal.com/Premier        Lexitas               888-267-1200· · ·
                                                                        JA000633   YVer1f
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 94 of 132

                         Carl Kerchner - March 23, 2022

                                                                           3
·1· · · · · · · · · · · · I N D E X

·2· · · · · · · · · · · · · * * *

·3· ·WITNESS:· Carl Kerchner

·4· ·QUESTIONED BY:· · · · · · · · · · · · · · · PAGE

·5· ·Mr. Baird· · · · · · · · · · · · · · · · · · ·5

·6

·7

·8· · · · · · · · · · · E X H I B I T S

·9· · · · · · · · · · · · · ·* * *

10

11· ·NUMBER· · · · · · · DESCRIPTION· · · · · · ·MK'D.

12· · · · · · · · · · · (None marked.)

13

14

15

16

17

18

19

20

21

22

23

24


     www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                    JA000634   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 95 of 132

                       Carl Kerchner - March 23, 2022

                                                                         4
·1· · · · · · (It is hereby stipulated by and

·2· · ·between counsel for the respective

·3· · ·parties that signing, sealing, filing and

·4· · ·certification are waived; and that all

·5· · ·objections, except as to the form of the

·6· · ·questions, be reserved until the time of

·7· · ·trial.)

·8· · · · THE COURT REPORTER:· The attorneys

·9· ·participating in this deposition acknowledge

10· ·that I am not physically present in the

11· ·deposition room and that I will be reporting

12· ·this deposition remotely.· They further

13· ·acknowledge that, in lieu of an oath

14· ·administered in person, I will administer the

15· ·oath remotely, pursuant to Governor Wolf's

16· ·Order of March 21, 2020.· The parties and their

17· ·counsel consent to this arrangement and waive

18· ·any objections to this manner of reporting.

19· ·Please indicate your agreement by stating your

20· ·name and your agreement on the record.

21· · · · MR. BAIRD:· My name is Graham Baird, for

22· ·the Plaintiff.· I agree.

23· · · · MR. MOODY:· Randy Moody, for Defendants.

24· ·I agree.


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000635   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 96 of 132

                        Carl Kerchner - March 23, 2022

                                                                         5
·1· · · · · · · · · · · · ·* * *

·2· · · · · · · · · · · CARL KERCHNER,

·3· · · · · · after having been first duly sworn, was

·4· · · · · · examined and testified as follows:

·5· · · · · · · · · · · · ·* * *

·6· · · · · · · · ·E X A M I N A T I O N

·7· · · · · · · · · · · · ·* * *

·8· · · · · · ·THE COURT REPORTER:· Are the usual

·9· · · · stipulations okay?

10· · · · · · ·MR. BAIRD:· That's fine.· Only objections

11· · · · as to the form of the question.· The witness

12· · · · can read and sign, reserve the right to if he

13· · · · so desires.

14· ·BY MR. BAIRD:

15· · · · Q· · Mr. Kerchner, good morning.· My name is

16· ·Graham Baird and I'm a lawyer and I represent

17· ·Colleen Behm in a lawsuit that she's filed against

18· ·Mack Trucks.· Today we are here for your deposition,

19· ·sir.· Have you ever given a deposition before?

20· · · · A· · No.

21· · · · Q· · Who else is in the room with you where you

22· ·are?

23· · · · A· · Right now it's myself and Kaitlyn O'Neill.

24· · · · Q· · Okay.· Is there anyone else in the room


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000636   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 97 of 132

                       Carl Kerchner - March 23, 2022

                                                                         6
·1· ·besides you and Miss O'Neill?

·2· · · · A· · No.

·3· · · · Q· · Do you have any electronic devices that

·4· ·you are looking at right now besides the laptop or

·5· ·whatever you're using to participate here on the

·6· ·Zoom?

·7· · · · A· · No.

·8· · · · Q· · Okay.· A deposition's a question and

·9· ·answer session.· I'm just going to ask you a few

10· ·questions that involve your interactions with Miss

11· ·Behm and perhaps others during your employment with

12· ·Mack Trucks.

13· · · · A· · Okay.

14· · · · Q· · And your legal obligation is to provide

15· ·answers to those questions to the best you can.

16· ·Okay?

17· · · · A· · All right.

18· · · · Q· · When you are responding to my question I

19· ·would ask that you respond verbally.· Sometimes it

20· ·is difficult for the court reporter to take down two

21· ·people talking at once, so I would ask that you wait

22· ·until I ask my full question before you answer and

23· ·I'll certainly do my best not to talk over you when

24· ·you're answering.· Is that fair?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000637   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 98 of 132

                        Carl Kerchner - March 23, 2022

                                                                         7
·1· · · · A· · Sure.

·2· · · · Q· · I'm hearing a little bit of feedback and

·3· ·I'm wondering where that's coming from.

·4· · · · A· · We are in a small room, so that could be

·5· ·where it's coming from.

·6· · · · Q· · I'll try to speak as clear as I can so

·7· ·there is no echo.· You can take a break whenever you

·8· ·want, Mr. Kerchner, from my questions.

·9· · · · A· · Okay.

10· · · · Q· · Just ask for one.· Okay?

11· · · · A· · Okay.

12· · · · Q· · Don't guess at anything.· If you don't

13· ·know, you don't know.· If you don't remember, you

14· ·don't remember.

15· · · · A· · Okay.

16· · · · Q· · Don't guess or make assumptions.· Do you

17· ·understand that?

18· · · · A· · Yes, absolutely.

19· · · · Q· · Terrific.· If you don't hear one of my

20· ·questions, if you don't understand one of my

21· ·questions, please tell me and I will try and ask it

22· ·again.· Okay?

23· · · · A· · Okay.

24· · · · Q· · If Mr. Moody, who is the lawyer for Mack


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000638   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 99 of 132

                       Carl Kerchner - March 23, 2022

                                                                         8
·1· ·Trucks, objects to one of my questions, don't

·2· ·answer.· Let him place his objection on the record

·3· ·and then you can answer after he does so.· Okay?

·4· · · · A· · Okay.

·5· · · · Q· · Mr. Kerchner, what is your current age?

·6· · · · A· · My current age is 52.

·7· · · · Q· · Are you employed?

·8· · · · A· · Yes.

·9· · · · Q· · Where are you employed?

10· · · · A· · I am employed with Mack Trucks in

11· ·Macungie, Pennsylvania.

12· · · · Q· · What is your current job position with

13· ·Mack Trucks?

14· · · · A· · My current job position is production tech

15· ·on engine two.

16· · · · Q· · What do you do as a production tech on

17· ·engine two?

18· · · · A· · I actually do left-side transmission

19· ·install.

20· · · · Q· · Okay.· How long have you held that

21· ·position, sir?

22· · · · A· · A couple of months.

23· · · · Q· · What did you do before you were assigned

24· ·to that position?


   www.LexitasLegal.com/Premier    Lexitas                888-267-1200· · ·
                                                                  JA000639   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 100 of 132

                        Carl Kerchner - March 23, 2022

                                                                          9
·1· · · · A· · I was the inspector at the end of the cab

·2· ·two line.

·3· · · · Q· · What did you do in that position?

·4· · · · A· · That position is you inspect the final

·5· ·product of the cab, do some data entry in computers

·6· ·for defects and so on and so forth and that was

·7· ·pretty much it.

·8· · · · Q· · Are you currently a member of any labor

·9· ·union?

10· · · · A· · Just the one that we have to have for

11· ·working here, which is UAW 677.

12· · · · Q· · Okay.· How long have you been employed at

13· ·Mack Trucks?

14· · · · A· · Since September 11th of 1998.

15· · · · Q· · Was Mack Trucks a union shop when you

16· ·started?

17· · · · A· · Yes.

18· · · · Q· · And was it the same Union, UAW 677, back

19· ·then?

20· · · · A· · Yes.

21· · · · Q· · Have you ever had any representative or

22· ·leadership roles in the union?

23· · · · A· · Yes.· I was a -- I actually had all three

24· ·cab lines.· I was the union rep for all three cab


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000640   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 101 of 132

                        Carl Kerchner - March 23, 2022

                                                                      10
·1· ·lines and I also had the trainers.

·2· · · · Q· · What did you do as a union rep?· Explain

·3· ·that to me.

·4· · · · A· · Okay.· So various roles.· The first and

·5· ·foremost is to make sure both sides, company and

·6· ·union, follow the current contract agreement between

·7· ·the union and the company.· Further than that, it

·8· ·goes to when I was the rep I had approximately 200

·9· ·people that were under my district, so that can

10· ·entail all kinds of problems to where we need to

11· ·come out to HR if people need days off or

12· ·bereavement if somebody passed away.· You know, you

13· ·kind of -- it's hard to sum it up in a short

14· ·little -- you do a lot of stuff.

15· · · · · · · · · You have a lot of interaction with

16· ·the people out there because, as you well know and

17· ·everybody else here, you have things, it's life,

18· ·stuff happens.· And so you do a lot.· You try and

19· ·take care of a lot of problems that arise on the

20· ·floor, whether it's between employees or employee

21· ·and supervisor or it could be a various boatload of

22· ·things that you have to take care of.· Pay issues,

23· ·if their pay wasn't right we come out to HR or send

24· ·an E mail and say, Hey, Kaitlyn O'Neill was short


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000641   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 102 of 132

                        Carl Kerchner - March 23, 2022

                                                                      11
·1· ·eight hours of pay this week, things of that nature.

·2· · · · Q· · Okay.· Did you ever serve as a union

·3· ·representative for Colleen Behm?

·4· · · · A· · Yes.

·5· · · · Q· · Do you remember anything about any actions

·6· ·that you took on behalf of Miss Behm or the company

·7· ·with regards to her employment?

·8· · · · A· · There was I can tell you right now there

·9· ·was three interactions with her that I can remember

10· ·right now.· Would you like me to divulge what the

11· ·three were or --

12· · · · A· · That's great.· Please do.

13· · · · A· · So one of the instances was Colleen, Miss

14· ·Behm, was going to be married.· She was going to

15· ·have the service at her home, so she had required --

16· ·or not required, requested to have off Friday and

17· ·Monday to be able to set up and break down for her

18· ·home wedding, which her supervisor, and I do not

19· ·remember who the supervisor was at the time because

20· ·they kind of get shuffled around in here and like I

21· ·said I have three different lines and three sets of

22· ·supervisors.· So long and short of it was the

23· ·supervisor had denied her the days off, so of course

24· ·when that happens then the union rep gets called,


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000642   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 103 of 132

                        Carl Kerchner - March 23, 2022

                                                                      12
·1· ·which Colleen did call me.· I came down to her,

·2· ·asked her what was going on, had given me the

·3· ·situation of requested days.· It was going to be a

·4· ·home wedding and she needed Friday and the following

·5· ·Monday for setting up and breaking down of all the

·6· ·tables and chairs and whatever else they rented for

·7· ·their wedding.

·8· · · · · · · · · So I got nowhere with the supervisor,

·9· ·so I wound up coming out to HR, which at that time,

10· ·again, I don't remember if I went to the HR business

11· ·partner first, which I think it was, and that would

12· ·have been Kaitlyn at the time.

13· · · · · · ·THE WITNESS:· Were you there?

14· ·BY MR. BAIRD:

15· · · · Q· · You can't ask for help to testify.· If you

16· ·know, you know.· If you can't remember, that's okay

17· ·too.

18· · · · A· · Okay.· Well, I came to HR, wound up

19· ·talking to Tim Newman about it.· Tim said -- I

20· ·explained the situation, he says, Okay, we'll go out

21· ·and talk to her about it.· So we did.· At that time

22· ·she was not on my line, because she was flexed.

23· ·They could bounce her around.· So at that time she

24· ·was on the chassis line.· We found out where she was


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000643   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 104 of 132

                        Carl Kerchner - March 23, 2022

                                                                      13
·1· ·and went to talk to her.· The interaction with that

·2· ·was I said to Colleen, I've got Tim Newman here.· He

·3· ·wants to talk to you about your days off for your

·4· ·wedding.· So I stepped back and let them talk, but

·5· ·stayed there and listened to what was going on.· And

·6· ·he told her he was going to give her the Friday and

·7· ·Monday off with no points assessed.· Because we have

·8· ·an attendance policy with points if you call off,

·9· ·take off, et cetera.· So that's where we were at

10· ·with that.· He told her she could have off the

11· ·Friday and Monday.· From there I asked her if

12· ·everything is okay, she said yep, and I proceeded to

13· ·move on to take care of the rest of the things for

14· ·the day.

15· · · · Q· · Did she thank you for helping her with

16· ·that first interaction?

17· · · · A· · I would say probably, but I can't say a

18· ·hundred percent yes or no, because of the amount of

19· ·people and amount of content that you have to deal

20· ·with day after day.· It kind of blurs together.· So

21· ·for me, when I was done with her I was like just

22· ·okay, you know, clean slate.· We are off to the next

23· ·person.· What's the next issue?

24· · · · Q· · Understood.


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000644   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 105 of 132

                        Carl Kerchner - March 23, 2022

                                                                      14
·1· · · · A· · That was the first interaction.· I've seen

·2· ·her like in normal cordial stuff, Good morning, how

·3· ·you doing?· Do you have any issues?· But that was

·4· ·the first real thing where she needed assistance

·5· ·with, didn't get something that she felt she needed

·6· ·to have off.

·7· · · · Q· · Do you mind if I ask you a few questions

·8· ·about that first interaction?

·9· · · · A· · Sure.

10· · · · Q· · You said Colleen called you.· Did she call

11· ·you on your cell phone, personal cell phone?

12· · · · A· · Again, I don't remember that, because my

13· ·personal cell phone, I didn't really give my number

14· ·out.· Some people on the floor had it before I

15· ·became a rep, so some people would reach out to me

16· ·through that.· I don't remember if it was a phone

17· ·message on my desk phone or if it was one of the

18· ·people on the cab line said, Hey, Colleen's looking

19· ·to talk to you.· They have her on the chassis line.

20· ·I can't be a hundred percent on that one.

21· · · · Q· · As I understand it there could be numerous

22· ·ways in which an employee could contact you as a

23· ·union rep to come assist them with some issue they

24· ·had, be it possibly your personal phone, call you on


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000645   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 106 of 132

                        Carl Kerchner - March 23, 2022

                                                                       15
·1· ·your desk phone or word of mouth from other

·2· ·employees telling you that they need to talk to you?

·3· · · · A· · Correct.

·4· · · · Q· · And you said that you went to the HR.· Do

·5· ·you know, was there an HR office on site of the

·6· ·Macungie factory?

·7· · · · A· · Ever since I've been employed here, yes,

·8· ·they have been on site.· It has changed over the

·9· ·years for location, but it has always been on site.

10· · · · Q· · Okay.· Tell me about the location of HR

11· ·during that first interaction with Miss Behm.

12· · · · A· · I'm pretty sure it was out here at the

13· ·front of the building where they are currently.            I

14· ·don't know if this is the north side of the building

15· ·or not.· It's the front part of the facility.

16· · · · Q· · Is there a trailer or is it an office

17· ·within the building?

18· · · · A· · Within the building, this one is an

19· ·office.· The prior place before this was I guess a

20· ·trailer out there that they had made into cubicles

21· ·or offices out there.· But it was only if you walk

22· ·out of the plant to the trailer it was probably less

23· ·than a two-minute walk, if that.· It was very close

24· ·in proximity.


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                    JA000646   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 107 of 132

                        Carl Kerchner - March 23, 2022

                                                                      16
·1· · · · Q· · What about the proximity of the HR office

·2· ·as it sits now?· How close is that to the factory

·3· ·floor in terms of walking wise?

·4· · · · A· · You can walk right in.· You can't walk

·5· ·into the HR department, but you walk in off of the

·6· ·production floor and come down a corridor and go to

·7· ·the security person, let them know, I have an

·8· ·appointment with Kaitlyn at 10 o'clock and they

·9· ·either call or bring you back and ring you through.

10· · · · Q· · Have you ever needed to call an HR

11· ·representative off site of the factory?

12· · · · A· · I don't ever recall calling them off site.

13· ·Were there times where I was the rep and --

14· · · · Q· · Go ahead.· I'm sorry.

15· · · · A· · Okay.· I thought somebody said something.

16· ·There has been times when you're a rep they give you

17· ·a laptop and we were using Skype at the time for an

18· ·instant message thing back and forth or Kaitlyn and

19· ·I would do a lot either through the phone and/or

20· ·E-mails as well.· So it all depended.· If Kaitlyn

21· ·wasn't there she'd say, I'm not in the plant today,

22· ·but I'm working from home.· So we did everything

23· ·over Skype or she would say call me on my work cell

24· ·phone and we'd discuss it that way.


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000647   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 108 of 132

                        Carl Kerchner - March 23, 2022

                                                                      17
·1· · · · Q· · If you don't mind, Mr. Kerchner, can you

·2· ·tell me about the second interaction you recall

·3· ·involving Miss Behm?

·4· · · · A· · Okay.· The second interaction was I was

·5· ·requested to come to the dispensary, which is the

·6· ·medical facility here in the plant.· Colleen was

·7· ·working on the L cab line as a flex person, wound up

·8· ·bumping her head.· I believe she went out to be

·9· ·diagnosed by a doctor, had come back and she had

10· ·requested me to come along with her into the

11· ·dispensary because she had to see the doctor, which

12· ·was not uncommon for me.· I've been in there with

13· ·various other people when I was the rep.· They

14· ·requested that I come in.· You have to sign a form

15· ·for the HIPAA stuff and all that protocol, which we

16· ·did.

17· · · · · · · · · So when we went in there we were

18· ·sitting in a private room waiting for Dr. Muto to

19· ·come in.· He came in and I believe there was a nurse

20· ·with him.· It might have been Cathy, but I can't be

21· ·a hundred percent sure on that.· But also there was

22· ·two HR representatives that came in as well.· One

23· ·was Dee Markell and the other was Marta, and I'm

24· ·going to butcher her last name, Albalotta I think is


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000648   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 109 of 132

                        Carl Kerchner - March 23, 2022

                                                                      18
·1· ·her last name.· So when we were in there of course I

·2· ·pretty much sat back and let them do their thing.            I

·3· ·sat there and observed them and if I needed to ask

·4· ·any questions that I thought maybe she didn't ask

·5· ·or, you know, maybe she missed something.· So we sat

·6· ·there and it was back and forth about her being able

·7· ·to return to work.

·8· · · · Q· · Do you remember anything specifically

·9· ·about that back and forth about Miss Behm being able

10· ·to return to work?

11· · · · A· · So I don't remember the exact specifics

12· ·back and forth because it was a lot of -- I'm saying

13· ·it's a tiny room.· There's an exam table in there,

14· ·two chairs like I'm sitting on now and a wash basin

15· ·type thing.· It's small.· So there was probably six

16· ·people in the room, so it was tight and people

17· ·talking, it was loud.· All I know is it was back and

18· ·forth and, from what I remember, Colleen was upset

19· ·that they were going to have her return to work

20· ·because she was diagnosed with a concussion at the

21· ·time and I believe she was having some effects from

22· ·the concussion; headache, light sensitivity, all

23· ·that other stuff that goes with that.

24· · · · · · · · · At the end of the day, from what I


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000649   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 110 of 132

                        Carl Kerchner - March 23, 2022

                                                                       19
·1· ·can remember, can't be a hundred percent but I'm

·2· ·like 95 percent, is they wound up letting her go

·3· ·home that day.· They sent her home.· After that,

·4· ·again the amount of people I had to deal with and

·5· ·the volume of things, I can't tell you was she out

·6· ·for one day, three days, five months?· I'm not -- I

·7· ·can't even be close to guessing on how long she was

·8· ·out.· I didn't monitor that stuff.

·9· · · · Q· · Okay.· Do you remember anything about

10· ·Dr. Muto's examination of Colleen?

11· · · · A· · No, that I do not.

12· · · · Q· · Did you -- you were in the room when he

13· ·was examining her, though, correct?

14· · · · A· · I was in the room.· This was after she

15· ·came back from being diagnosed from somebody else.

16· ·So I can't be a hundred percent sure if he did

17· ·anything, like check to see if her pupils were

18· ·dilated.· I can't remember.

19· · · · Q· · Did you observe Miss Behm's original

20· ·injury?

21· · · · A· · I was not there when it happened, no.            I

22· ·was told about it after the fact.

23· · · · Q· · Do you remember who told you about it?

24· · · · A· · No, I do not.· Somebody on the line out


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                    JA000650   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 111 of 132

                        Carl Kerchner - March 23, 2022

                                                                      20
·1· ·there, like I said, she was flex, so she could be

·2· ·anywhere in the plant, honestly.· If nobody is

·3· ·out -- I don't know if you're familiar how flex

·4· ·works.· If there is nobody out she just goes on

·5· ·repair and helps people out.· And I can't even be

·6· ·sure, was she on an actual job when she hit her head

·7· ·or was she doing repair?· That I don't know either.

·8· · · · Q· · Fair enough.· What happens when someone is

·9· ·injured while working on the line?· Does the line

10· ·stop?

11· · · · A· · Depending what kind of an injury.· If you

12· ·have somebody that -- I don't want to be gruesome

13· ·here, but there's people that have been in between

14· ·the rear axles of the truck and they fire it up and

15· ·put it in gear and that person gets sucked down in

16· ·between the wheels.· Yeah, they're going to have to

17· ·shut the line off.· Personally myself, when I worked

18· ·on the cab line I turned to get out of the truck and

19· ·split my knee open, so I grabbed a rag and walked

20· ·over to the dispensary.· No, they don't turn the

21· ·line off for that.· It depends on the severity of

22· ·it.

23· · · · Q· · And do you remember when your injury

24· ·occurred?


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000651   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 112 of 132

                        Carl Kerchner - March 23, 2022

                                                                      21
·1· · · · A· · No.· That was a lot of years before that.

·2· · · · Q· · Have you had any other injuries at work

·3· ·besides splitting your knee open?

·4· · · · A· · Yeah.· I had a Workman's Comp claim on my

·5· ·elbow, which they had to do surgery on it.

·6· · · · Q· · Was that -- I'm sorry.· Was that a

·7· ·situation where your elbow, was that a repetition

·8· ·injury?

·9· · · · A· · It wound up being tennis elbow.· They had

10· ·to go in and reattach the ligament.

11· · · · Q· · Did you miss some time from your job as a

12· ·result of that injury?

13· · · · A· · Sure.

14· · · · Q· · Do you remember about how much?

15· · · · A· · No.· That was even further back.· That was

16· ·a lot of years ago.

17· · · · Q· · Okay.· Did Mack Trucks treat you

18· ·negatively as a result of you missing time from your

19· ·injury?

20· · · · A· · As?· Explain what you mean by negatively.

21· · · · Q· · Did Mack Trucks take any actions against

22· ·you that you believed were motivated by the fact

23· ·that you missed time from your injury?

24· · · · A· · No.


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000652   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 113 of 132

                        Carl Kerchner - March 23, 2022

                                                                      22
·1· · · · Q· · Did Mack Trucks in any way rush you to

·2· ·return to work?

·3· · · · A· · I don't know if they per se rush you.

·4· ·There's been probably some cases where -- you talk

·5· ·to a bunch of people as a rep.· I'd say, Listen,

·6· ·it's your body.· Only you know how you feel.           I

·7· ·can't make anybody change when you come back.            I

·8· ·have nothing to do with that.· All I can tell you is

·9· ·do the job.· If you can't do it you got to go back

10· ·down to the dispensary.· They have got to make that

11· ·call.· I can't do anything with that.

12· · · · Q· · Understood.· Do you remember anything that

13· ·Miss Behm said toward Dr. Muto or any of the other

14· ·individuals in the room, Dee Markell, for example,

15· ·during the time when she was -- when you were

16· ·observing her have the conversation in that

17· ·dispensary?

18· · · · A· · I do not remember anything that was said.

19· ·All I can tell you is at one point it did get a

20· ·little heated in there between the people that were

21· ·involved in there.· As of what was said back and

22· ·forth, I have no recollection of anything that was

23· ·said back and forth besides Dr. Muto at the end

24· ·saying, Okay, fine, we are going to send you back


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000653   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 114 of 132

                        Carl Kerchner - March 23, 2022

                                                                      23
·1· ·home.· And that was pretty much the end of it.

·2· · · · Q· · Do you remember who was getting heated in

·3· ·the room?

·4· · · · A· · I know Colleen was upset.· I don't recall

·5· ·really if Dr. Muto or the nurse -- like I said,

·6· ·there was so much going on in there, it's a very

·7· ·small room and as we are talking here you know if we

·8· ·have a couple people talking, you don't catch it

·9· ·all.· It's just noise at that point.· I'm not saying

10· ·they were full out screaming or nothing.· It was

11· ·just from talking it was a lot of noise.

12· · · · Q· · Understood.· Do you ever remember Colleen

13· ·referring to Dr. Muto as a veterinarian during that

14· ·interaction?

15· · · · A· · No, I can't remember her saying anything

16· ·of that.

17· · · · Q· · Have you ever heard Colleen refer to

18· ·Dr. Muto as a veterinarian?

19· · · · A· · Again, I cannot be a hundred percent yes

20· ·or no.· When you're a rep you talk so much during

21· ·the day.· There is so much content.· Like I said,

22· ·there's 200 people, so there is no way I can tell

23· ·you yes or no.

24· · · · Q· · When you say there's 200 people, are there


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000654   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 115 of 132

                        Carl Kerchner - March 23, 2022

                                                                      24
·1· ·200 people that you are the representative for?

·2· · · · A· · Yes.· At that time, yes, there was like

·3· ·200 and change, maybe 210, give or take.· Because

·4· ·people would bounce in and out with bids and getting

·5· ·moved and flex people and all that other stuff.

·6· · · · Q· · At that time you were the union rep for

·7· ·the cab lines; is that correct?

·8· · · · A· · Yes.· And that was district two.

·9· · · · Q· · Okay.· What is the third interaction that

10· ·you had with Miss Behm?

11· · · · A· · The third interaction was after my term

12· ·was over as the rep I decided not to re-run and I

13· ·was going to go back to my job in production.· So

14· ·when I would walk down through my job in production

15· ·I would see Colleen in the morning.· And because I

16· ·was her rep we had a rapport, so it was always, Good

17· ·morning.· How you doing?· And she stopped me as I

18· ·was walking to my work station and she says, Can you

19· ·believe they're going to force me -- or she said,

20· ·I'm going second shift.· I said, Oh, is that -- did

21· ·you Article Nine?· Because I know she had kids and

22· ·she was going through some stuff outside of work.

23· ·And she's like, No.· They're forcing me to go second

24· ·shift.· I said, Yeah, but if they force you to go on


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000655   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 116 of 132

                        Carl Kerchner - March 23, 2022

                                                                      25
·1· ·second shift it's not a permanent thing.· When

·2· ·people get bumped around they Article Nine from

·3· ·shift to shift.

·4· · · · · · · · · I said, With your time you got enough

·5· ·time.· You'll probably eventually get back on first

·6· ·shift.· You're just going to have to buy your time

·7· ·on second shift.· That was just being cordial back

·8· ·and forth.· Even to this day, I've been out of being

·9· ·a rep for five years now.· I still have people come

10· ·and talk to me on the line to ask me questions.

11· ·It's just -- that's part of that territory.

12· · · · Q· · Sure.

13· · · · A· · Other than that, I believe that was

14· ·probably the last time I talked to Colleen besides,

15· ·How you doing, or walking past her.· Other than

16· ·that, that was the last interaction I had with her.

17· · · · Q· · During that interaction were you still her

18· ·union rep or had you stopped being the union rep at

19· ·that time?

20· · · · A· · I was done being the rep.· Like I said, I

21· ·was walking to my work station.· And for three

22· ·years, for most of those three years I was a rep, I

23· ·was on that floor every day walking those lines to

24· ·make sure there was no issues going on.· You built a


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000656   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 117 of 132

                        Carl Kerchner - March 23, 2022

                                                                      26
·1· ·rapport with those people because you're there all

·2· ·the time.· So I was absolutely not her rep at that

·3· ·time.· And I remember that because where she was

·4· ·working because she was flex, they had her over

·5· ·there.· I'm like, What are you doing over here?

·6· ·She's like, Well, they moved me over here and

·7· ·they're making me go second shift.· And that whole

·8· ·thing played out.

·9· · · · Q· · Did she tell you why they were making her

10· ·go second shift?

11· · · · A· · If she did I don't remember what the

12· ·reason was.· I had just told her that they --

13· ·without being the rep and being able to dive into

14· ·it, I said it's probably that more seniors came to

15· ·this shift.· You're going to get bumped.· It happens

16· ·all the time.· It's a seniority shop.· That that's

17· ·how it goes.

18· · · · Q· · Do you know who took over as Miss Behm's

19· ·union representative after you had stopped acting in

20· ·that capacity?

21· · · · A· · If she would have been on the cab line, if

22· ·that's where she was working, that would have been

23· ·Cesar.· I just lost his last name.· His last name is

24· ·Gerena, G-E-R-N-N-A(sic), or something like that.


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000657   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 118 of 132

                        Carl Kerchner - March 23, 2022

                                                                      27
·1· ·He was actually my alternate when I was the standing

·2· ·rep.· He wound up running when I didn't want to run

·3· ·and he became the actual rep for the cab lines.

·4· ·When I seen Colleen, when I passed her going to my

·5· ·work station, I'm pretty sure she was tied to the

·6· ·chassis line at that time and that rep at that time

·7· ·would have been Louie Kurtz.

·8· · · · Q· · Louie Kurtz, did you say?

·9· · · · A· · K-U-R-T-Z, yes.· His actual real name was

10· ·Louis, but everybody called him Louie.

11· · · · Q· · Did you ever any conversations with

12· ·Mr. Gerena or Mr. Kurtz about Colleen?

13· · · · A· · No.

14· · · · Q· · Did you ever have any conversations with

15· ·Kaitlyn O'Neill about Colleen?

16· · · · A· · Again, I can't be a hundred percent just

17· ·because of the amount of volume.· So I probably had

18· ·a conversation with Kaitlyn about the days off that

19· ·she requested for the wedding and not uncommonly the

20· ·HR people out here a lot of times they were straight

21· ·up.· Listen, I can't make that call.· I'm going to

22· ·have to escalate that to Tim.· That's why I went to

23· ·Tim Newman about getting her off those two days to

24· ·be married.


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000658   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 119 of 132

                        Carl Kerchner - March 23, 2022

                                                                      28
·1· · · · Q· · Understood.· Do you know a person named

·2· ·Cruz Rivera?

·3· · · · A· · I know who Cruz is.· I've never worked

·4· ·with him.· Again, it's a cordial thing.· I know him

·5· ·because he's a rep up there now.· I filled in for a

·6· ·week or two.· Cesar had a family emergency that he

·7· ·had to take care of, so I wound up meeting Cruz up

·8· ·in the union office for those two weeks when I

·9· ·worked up there filling in for Cesar.· But I never

10· ·really had any interactions with him.· I never

11· ·worked with him on the line.· He was never my rep, I

12· ·was never his rep, so that's the extent of it with

13· ·Cruz.

14· · · · Q· · Okay.· Do you know whether Mack Trucks

15· ·Inc. has an anti-sexual harassment policy?

16· · · · A· · I'm sure there is a sexual harassment

17· ·policy.

18· · · · Q· · Do you have any knowledge as to what that

19· ·policy entails, what it says?

20· · · · A· · Off the top of my head, no.· Is it easily

21· ·accessible?· Absolutely.· You can ask a supervisor

22· ·to print it for you.· Some time ago there used to be

23· ·a revolving type thing when they had a bunch of

24· ·packets in there and you could go in and grab that


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000659   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 120 of 132

                        Carl Kerchner - March 23, 2022

                                                                      29
·1· ·stuff.· Whenever a policy changes or anything like

·2· ·that, Mack Trucks usually will send it out E-mail to

·3· ·the supervisors and they would print it off and hand

·4· ·it to the people on the line.

·5· · · · Q· · As a union representative did you ever

·6· ·field any complaints that you can remember involving

·7· ·sexual harassment at Mack Trucks?

·8· · · · A· · There were certain things as a rep that

·9· ·get brought up to where people feel they weren't

10· ·talked to correctly or were treated some kind of a

11· ·way, which of course then you have to do your due

12· ·diligence as a rep, which I have, and Kaitlyn, have

13· ·sat down with a couple of them to where there was

14· ·people that were feeling uncomfortable from another

15· ·coworker.· There was a couple here that we had

16· ·brought it out.· I dealt with Marta with that one.

17· ·That was an engineer and a worker.· But an actual

18· ·charge?· Again, once it stops between me and an HR

19· ·business partner, that's pretty much where I'm done.

20· ·As a rep, yes, I sat through a bunch of intake

21· ·meetings where they ask what happened, what was

22· ·said, who was around.· Like that was status quo.· If

23· ·you came with something like that, they did a full

24· ·investigation on it.


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000660   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 121 of 132

                        Carl Kerchner - March 23, 2022

                                                                      30
·1· · · · Q· · When you say "they" who are you speaking

·2· ·of?

·3· · · · A· · HR.· Sorry.

·4· · · · Q· · That's all right.

·5· · · · A· · Like I said, for me and HR I had three or

·6· ·four different business partners, because I had

·7· ·three different lines and the trainers.· So

·8· ·depending who it was on what line is that person who

·9· ·I had to go to to bring the issue up or to get a

10· ·resolution, get an answer for her, like I said, to

11· ·get the days off.

12· · · · Q· · Do you have any awareness of what the

13· ·policy is of Mack Trucks regarding how a complaint

14· ·of sexual harassment is raised by a line worker?

15· · · · A· · I don't know what the policy says, but

16· ·there again as a rep, for me, and I'm speaking for

17· ·me, if somebody comes to you with something like

18· ·that you can't sit on that.· You have to take it

19· ·where it's got to go.· And that's what happened.

20· ·That's how I handled my district when I was the rep

21· ·in it.

22· · · · Q· · Do you have any understanding as to

23· ·whether Mack Trucks directs employees to complain to

24· ·their union rep or can an employee complain directly


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000661   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 122 of 132

                        Carl Kerchner - March 23, 2022

                                                                      31
·1· ·to HR at Mack Trucks?

·2· · · · A· · I can't answer for that, because I'm not

·3· ·part of HR.· I can tell you usually if it's

·4· ·something like that, I'm going to say, and this is

·5· ·just my opinion, majority of the people will go to

·6· ·the rep.· I'm sure some people go to supervisors,

·7· ·but to give you a percentage there is no way I would

·8· ·be able to figure that out or give an educated

·9· ·guess.· There is no rhyme or reason.

10· · · · Q· · Did Miss Behm ever make any complaints to

11· ·you about sexual harassment?

12· · · · A· · No.

13· · · · Q· · You mentioned Miss Behm with regards to

14· ·the third interaction you had with her, that she I

15· ·think you said was going through some stuff outside

16· ·of work.· Do you remember that?

17· · · · A· · Yeah.

18· · · · Q· · Do you remember when --

19· · · · A· · I think it was -- like I said, this is

20· ·after I was the rep.· So I know she was having

21· ·problems with it had to have been her husband at

22· ·that time, because that was the issue, was I believe

23· ·they were separated and she didn't have anybody to

24· ·watch the children on second shift and that's where


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                   JA000662   YVer1f
    Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 123 of 132

                        Carl Kerchner - March 23, 2022

                                                                       32
·1· ·the issue was going to lie for her.· Again, her and

·2· ·I didn't specifically say that.· Like we didn't have

·3· ·that straight-up conversation where she was saying

·4· ·I'm having husband or marital problems.· It was

·5· ·because I even asked her, You got kids.· What are

·6· ·you -- how are you going to handle that?· And I

·7· ·think she made the comment that she was concerned

·8· ·because she didn't know what she was going to do

·9· ·with them, being on second shift and trying to find

10· ·somebody to watch them.

11· · · · Q· · Have you talked to Miss Behm outside of

12· ·the workplace in the last year or two years?

13· · · · A· · No, sir.

14· · · · Q· · Have you talked with Miss Behm's

15· ·ex-husband, Corey, outside work in the last year or

16· ·two years?

17· · · · A· · No.· I've never talked to that man ever.

18· ·I know he worked here for a little bit of time.            I

19· ·know who he was, but he wasn't in my district, so,

20· ·no, I've never talked to him.

21· · · · Q· · Okay.· Bear with me, Mr. Kerchner.

22· · · · A· · Sure.

23· · · · Q· · Did you do anything to prepare for your

24· ·deposition today?


   www.LexitasLegal.com/Premier    Lexitas                 888-267-1200· · ·
                                                                    JA000663   YVer1f
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 124 of 132

                         Carl Kerchner - March 23, 2022

                                                                       33
·1· · · · A· · As in which?

·2· · · · Q· · Anything at all.

·3· · · · A· · No, not really.· No.

·4· · · · Q· · Did you look at any documents or

·5· ·paperwork --

·6· · · · A· · No.

·7· · · · Q· · -- in preparation?

·8· · · · A· · No.

·9· · · · · · ·MR. BAIRD:· I don't have any further

10· · · · questions for you, Mr. Kerchner.· I appreciate

11· · · · your time.· Thank you.· Mr. Moody may have some

12· · · · questions.

13· · · · · · ·MR. MOODY:· No, I don't have any questions

14· · · · for you today.· Thank you, sir.

15· · · · · · · · · · · · · ·* * *

16· · · · · · · · · · (Witness excused.)

17· · · · · · · · · · · · · ·* * *

18· · · · · ·(Whereupon, the Zoom deposition concluded

19· · · · at 10:45 a.m.)

20· · · · · · · · · · · · · ·* * *

21

22

23

24


     www.LexitasLegal.com/Premier   Lexitas                 888-267-1200· · ·
                                                                    JA000664
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 125 of 132

                                          Carl Kerchner - March 23, 2022

                                                                                        34
·1

·2· · · · · · C E R T I F I C A T I O N

·3

·4
· ·   · · · · ·I, Karen A. Stevens, a Court Reporter
·5·   · and Notary Public, do hereby certify the
· ·   ·foregoing to be a true and accurate transcript
·6·   ·of the proceedings in this matter, as
· ·   ·transcribed from the stenographic notes taken
·7·   ·by me.

·8
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·__________________
·9·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·Karen A. Stevens
· ·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·Court Reporter
10·   ·   ·   ·   ·   ·   ·   ·   ·   ·    ·   ·   ·   ·Notary Public

11

12

13

14

15·   ·   · · · ·(The foregoing certification of this
· ·   ·   transcript does not apply to any reproduction
16·   ·   of the same by any means, unless under the
· ·   ·   direct control and/or supervision of the
17·   ·   certifying reporter.)

18

19

20

21

22

23

24


      www.LexitasLegal.com/Premier                       Lexitas             888-267-1200· · ·
                                                                                     JA000665
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 126 of 132
                              Carl Kerchner - March 23, 2022

                                actions 11:5 21:21                      behalf 11:6
                  1
                                actual 20:6 27:3,9 29:17                Behm 5:17 6:11 11:3,6,14 15:11 17:3
                                                                         18:9 22:13 24:10 31:10,13 32:11
 10 16:8                        administer 4:14
                                                                        Behm's 19:19 26:18 32:14
 10:45 33:19                    administered 4:14
                                                                        believed 21:22
 11th 9:14                      age 8:5,6
                                                                        bereavement 10:12
 1240 2:3                       agree 4:22,24
                                                                        bids 24:4
 15 2:9                         agreement 4:19,20 10:6
                                                                        bit 7:2 32:18
 19102 2:4                      ahead 16:14
                                                                        Blair 2:13
 1998 9:14                      Albalotta 17:24
                                                                        blurs 13:20
                                alternate 27:1
                  2                                                     Blvd 2:3
                                amount 13:18,19 19:4 27:17
                                                                        boatload 10:21
 200 10:8 23:22,24 24:1,3       and/or 16:19
                                                                        body 22:6
 2020 4:16                      answering 6:24
                                                                        bounce 12:23 24:4
 21 4:16                        answers 6:15
                                                                        break 7:7 11:17
 210 24:3                       anti-sexual 28:15
                                                                        breaking 12:5
 29601 2:9                      appointment 16:8
                                                                        bring 16:9 30:9
                                approximately 10:8
                  5                                                     brought 29:9,16
                                arise 10:19
                                                                        building 15:13,14,17,18
                                arrangement 4:17
 5 3:5                                                                  built 25:24
                                Article 24:21 25:2
 52 8:6                                                                 bumped 25:2 26:15
                                assessed 13:7
                                                                        bumping 17:8
                  6             assigned 8:23
                                                                        bunch 22:5 28:23 29:20
                                assist 14:23
 677 9:11,18                                                            business 12:10 29:19 30:6
                                assistance 14:4
                                                                        butcher 17:24
                  7             assumptions 7:16
                                                                        buy 25:6
                                attendance 13:8
 700 2:9
                                attorneys 4:8
                                                                                          C
                  9             awareness 30:12
                                axles 20:14                             cab 9:1,5,24 14:18 17:7 20:18 24:7
                                                                         26:21 27:3
 95 19:2
                                                  B                     call 12:1 13:8 14:10,24 16:9,10,23
                                                                         22:11 27:21
                  A
                                back 9:18 13:4 16:9,18 17:9 18:2,6,9,   called 11:24 14:10 27:10
 a.m. 33:19                      12,17 19:15 21:15 22:7,9,21,23,24
                                                                        calling 16:12
                                 24:13 25:5,7
 absolutely 7:18 26:2 28:21                                             capacity 26:20
                                Baird 2:2 3:5 4:21 5:10,14,16 12:14
 accessible 28:21                33:9                                   care 10:19,22 13:13 28:7
 acknowledge 4:9,13             basin 18:14                             Carl 3:3 5:2
 acting 26:19                   Bear 32:21                              Carolina 2:9




www.LexitasLegal.com/Premier                   Lexitas       888-267-1200· · ·Index: 10–Carolina
                                                                                 JA000666
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 127 of 132
                                        Carl Kerchner - March 23, 2022

 cases 22:4                               cordial 14:2 25:7 28:4               difficult 6:20
 catch 23:8                               Corey 32:15                          dilated 19:18
 Cathy 17:20                              correct 15:3 19:13 24:7              diligence 29:12
 cell 14:11,13 16:23                      correctly 29:10                      directly 30:24
 certification 4:4                        corridor 16:6                        directs 30:23
 Cesar 26:23 28:6,9                       counsel 4:2,17                       discuss 16:24
 cetera 13:9                              couple 8:22 23:8 29:13,15            dispensary 17:5,11 20:20 22:10,17
 chairs 12:6 18:14                        court 4:8 5:8 6:20                   district 10:9 24:8 30:20 32:19
 change 22:7 24:3                         coworker 29:15                       dive 26:13
 changed 15:8                             Cruz 28:2,3,7,13                     divulge 11:10
 charge 29:18                             cubicles 15:20                       doctor 17:9,11
 chassis 12:24 14:19 27:6                 current 8:5,6,12,14 10:6             documents 33:4
 check 19:17                                                                   due 29:11
                                                             D
 children 31:24                                                                duly 5:3
 claim 21:4                               data 9:5
                                                                                                 E
 clean 13:22                              day 13:14,20 18:24 19:3,6 23:21
 clear 7:6                                 25:8,23
                                                                               E-MAIL 29:2
 close 15:23 16:2 19:7                    days 10:11 11:23 12:3 13:3 19:6
                                                                               E-MAILS 16:20
                                           27:18,23 30:11
 Colleen 5:17 11:3,13 12:1 13:2 14:10                                          easily 28:20
  17:6 18:18 19:10 23:4,12,17 24:15       deal 13:19 19:4
  25:14 27:4,12,15                                                             echo 7:7
                                          dealt 29:16
 Colleen's 14:18                                                               educated 31:8
                                          decided 24:12
 comment 32:7                                                                  effects 18:21
                                          Dee 17:23 22:14
 Comp 21:4                                                                     elbow 21:5,7,9
                                          defects 9:6
 company 10:5,7 11:6                                                           electronic 6:3
                                          Defendants 2:10 4:23
 complain 30:23,24                                                             emergency 28:6
                                          denied 11:23
 complaint 30:13                                                               employed 8:7,9,10 9:12 15:7
                                          department 16:5
 complaints 29:6 31:10                                                         employee 10:20 14:22 30:24
                                          depended 16:20
 computers 9:5                                                                 employees 10:20 15:2 30:23
                                          depending 20:11 30:8
 concerned 32:7                                                                employment 6:11 11:7
                                          depends 20:21
 concluded 33:18                                                               end 9:1 18:24 22:23 23:1
                                          deposition 4:9,11,12 5:18,19 32:24
 concussion 18:20,22                       33:18                               engine 8:15,17

 consent 4:17                             deposition's 6:8                     engineer 29:17

 contact 14:22                            DESCRIPTION 3:11                     entail 10:10

 content 13:19 23:21                      desires 5:13                         entails 28:19

 contract 10:6                            desk 14:17 15:1                      entry 9:5

 conversation 22:16 27:18 32:3            devices 6:3                          ERIC 2:3

 conversations 27:11,14                   diagnosed 17:9 18:20 19:15           escalate 27:22




www.LexitasLegal.com/Premier                            Lexitas 888-267-1200· · ·Index:JA000667
                                                                                        cases–escalate
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 128 of 132
                                  Carl Kerchner - March 23, 2022

 ESQUIRE 2:2,8                      follow 10:6                         hear 7:19
 eventually 25:5                    force 24:19,24                      heard 23:17
 ex-husband 32:15                   forcing 24:23                       hearing 7:2
 exact 18:11                        foremost 10:5                       heated 22:20 23:2
 exam 18:13                         form 4:5 5:11 17:14                 held 8:20
 examination 19:10                  found 12:24                         helping 13:15
 examined 5:4                       Friday 11:16 12:4 13:6,11           helps 20:5
 examining 19:13                    front 15:13,15                      Hey 10:24 14:18
 excused 33:16                      full 6:22 23:10 29:23               HIPAA 17:15
 Explain 10:2 21:20                                                     hit 20:6
                                                     G
 explained 12:20                                                        home 11:15,18 12:4 16:22 19:3 23:1
 extent 28:12                       G-E-R-N-N-A(SIC) 26:24              honestly 20:2
                                    gear 20:15                          hours 11:1
                    F
                                    Gerena 26:24 27:12                  HR 10:11,23 12:9,10,18 15:4,5,10
                                                                         16:1,5,10 17:22 27:20 29:18 30:3,5
 facility 15:15 17:6                give 13:6 14:13 16:16 24:3 31:7,8    31:1,3
 fact 19:22 21:22                   good 5:15 14:2 24:16                hundred 13:18 14:20 17:21 19:1,16
 factory 15:6 16:2,11               Governor 4:15                        23:19 27:16

 fair 6:24 20:8                     grab 28:24                          husband 31:21 32:4

 familiar 20:3                      grabbed 20:19
                                                                                          I
 family 28:6                        Graham 2:2 4:21 5:16
 feedback 7:2                       grahamb@ericshore.com 2:4           individuals 22:14
 feel 22:6 29:9                     great 11:12                         injured 20:9
 feeling 29:14                      Greenville 2:9                      injuries 21:2
 felt 14:5                          gruesome 20:12                      injury 19:20 20:11,23 21:8,12,19,23
 field 29:6                         guess 7:12,16 15:19 31:9            inspect 9:4
 figure 31:8                        guessing 19:7                       inspector 9:1
 filed 5:17                                                             install 8:19
                                                     H
 filing 4:3                                                             instances 11:13
 filled 28:5                        hand 29:3                           instant 16:18
 filling 28:9                       handle 32:6                         intake 29:20
 final 9:4                          handled 30:20                       interaction 10:15 13:1,16 14:1,8
                                                                         15:11 17:2,4 23:14 24:9,11 25:16,17
 find 32:9                          happened 19:21 29:21 30:19           31:14
 fine 5:10 22:24                    harassment 28:15,16 29:7 30:14      interactions 6:10 11:9 28:10
 fire 20:14                          31:11
                                                                        investigation 29:24
 flex 17:7 20:1,3 24:5 26:4         hard 10:13
                                                                        involve 6:10
 flexed 12:22                       head 17:8 20:6 28:20
                                                                        involved 22:21
 floor 10:20 14:14 16:3,6 25:23     headache 18:22
                                                                        involving 17:3 29:6




www.LexitasLegal.com/Premier                      Lexitas
                                                     888-267-1200· · ·Index: ESQUIRE–involving
                                                                               JA000668
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 129 of 132
                                        Carl Kerchner - March 23, 2022

 issue 13:23 14:23 30:9 31:22 32:1        lines 9:24 10:1 11:21 24:7 25:23 27:3   mind 14:7 17:1
                                           30:7
 issues 10:22 14:3 25:24                                                          missed 18:5 21:23
                                          Listen 22:5 27:21
                                                                                  missing 21:18
                    J                     listened 13:5
                                                                                  MK'D 3:11
                                          location 15:9,10
 J.F.K. 2:3                                                                       Monday 11:17 12:5 13:7,11
                                          long 8:20 9:12 11:22 19:7
 JACKSON 2:8                                                                      monitor 19:8
                                          lost 26:23
 job 8:12,14 20:6 21:11 22:9 24:13,14                                             months 8:22 19:6
                                          lot 10:14,15,18,19 16:19 18:12 21:1,
                                                                                  Moody 2:8 4:23 7:24 33:11,13
                                           16 23:11 27:20
                    K                                                             morning 5:15 14:2 24:15,17
                                          loud 18:17
 K-U-R-T-Z 27:9                                                                   motivated 21:22
                                          Louie 27:7,8,10
 Kaitlyn 2:16 5:23 10:24 12:12 16:8,                                              mouth 15:1
                                          Louis 27:10
  18,20 27:15,18 29:12                                                            move 13:13
 Kerchner 3:3 5:2,15 7:8 8:5 17:1                            M                    moved 24:5 26:6
  32:21 33:10
                                                                                  Muto 17:18 22:13,23 23:5,13,18
 kids 24:21 32:5                          Mack 5:18 6:12 7:24 8:10,13 9:13,15
                                           21:17,21 22:1 28:14 29:2,7 30:13,23    Muto's 19:10
 kind 10:13 11:20 13:20 20:11 29:10        31:1
 kinds 10:10                              Macungie 8:11 15:6                                         N
 knee 20:19 21:3                          made 15:20 32:7
                                                                                  named 28:1
 knowledge 28:18                          mail 10:24
                                                                                  nature 11:1
 Kurtz 27:7,8,12                          Main 2:9
                                                                                  needed 12:4 14:4,5 16:10 18:3
                                          majority 31:5
                    L                                                             negatively 21:18,20
                                          make 7:16 10:5 22:7,10 25:24 27:21
                                           31:10
                                                                                  Newman 12:19 13:2 27:23
 labor 9:8
                                          making 26:7,9                           noise 23:9,11
 laptop 6:4 16:17
                                          man 32:17                               normal 14:2
 LAW 2:3
                                          manner 4:18                             north 15:14
 lawsuit 5:17
                                          March 4:16                              number 3:11 14:13
 lawyer 5:16 7:24
                                          marital 32:4                            numerous 14:21
 leadership 9:22
                                          marked 3:12                             nurse 17:19 23:5
 left-side 8:18
 legal 6:14                               Markell 17:23 22:14
                                                                                                     O
 letting 19:2                             married 11:14 27:24
                                          Marta 17:23 29:16                       O'NEILL 2:16 5:23 6:1 10:24 27:15
 LEWIS 2:8
                                          medical 17:6                            oath 4:13,15
 lie 32:1
                                          meeting 28:7                            objection 8:2
 lieu 4:13
                                          meetings 29:21                          objections 4:5,18 5:10
 life 10:17
                                          member 9:8                              objects 8:1
 ligament 21:10
                                          mentioned 31:13                         obligation 6:14
 light 18:22
                                          message 14:17 16:18                     observe 19:19




www.LexitasLegal.com/Premier                             Lexitas      888-267-1200· · ·Index: issue–observe
                                                                                            JA000669
       Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 130 of 132
                                         Carl Kerchner - March 23, 2022

 observed 18:3                             physically 4:10                         raised 30:14
 observing 22:16                           place 8:2 15:19                         Randy 2:8 4:23
 occurred 20:24                            Plaintiff 2:5 4:22                      randy.moody@jacksonlewis.
 office 15:5,16,19 16:1 28:8               plant 15:22 16:21 17:6 20:2             com 2:10
                                                                                   rapport 24:16 26:1
 offices 2:3 15:21                         played 26:8
 open 20:19 21:3                           point 22:19 23:9                        re-run 24:12
                                                                                   reach 14:15
 opinion 31:5                              points 13:7,8
 Order 4:16                                policy 13:8 28:15,17,19 29:1 30:13,     read 5:12
                                            15                                     real 14:4 27:9
 original 19:19
                                           position 8:12,14,21,24 9:3,4            rear 20:14
                     P                     possibly 14:24                          reason 26:12 31:9
                                           preparation 33:7                        reattach 21:10
 P.C. 2:8
                                           prepare 32:23                           recall 16:12 17:2 23:4
 packets 28:24
                                           present 2:16 4:10                       recollection 22:22
 paperwork 33:5
                                           pretty 9:7 15:12 18:2 23:1 27:5 29:19   record 4:20 8:2
 part 15:15 25:11 31:3
                                           print 28:22 29:3                        refer 23:17
 participate 6:5
                                           prior 15:19                             referring 23:13
 participating 4:9
                                           private 17:18                           remember 7:13,14 11:5,9,19 12:10,
 parties 4:3,16                                                                     16 14:12,16 18:8,11,18 19:1,9,18,23
                                           problems 10:10,19 31:21 32:4
 partner 12:11 29:19                                                                20:23 21:14 22:12,18 23:2,12,15
                                           proceeded 13:12                          26:3,11 29:6 31:16,18
 partners 30:6
                                           product 9:5                             remotely 4:12,15
 passed 10:12 27:4
                                           production 8:14,16 16:6 24:13,14        rented 12:6
 past 25:15
                                           protocol 17:15                          rep 9:24 10:2,8 11:24 14:15,23 16:13,
 pay 10:22,23 11:1                                                                  16 17:13 22:5 23:20 24:6,12,16 25:9,
                                           provide 6:14
 Pennsylvania 2:4 8:11                                                              18,20,22 26:2,13 27:2,3,6 28:5,11,12
                                           proximity 15:24 16:1                     29:8,12,20 30:16,20,24 31:6,20
 people 6:21 10:9,11,16 13:19 14:14,
  15,18 17:13 18:16 19:4 20:5,13 22:5,     pupils 19:17                            repair 20:5,7
  20 23:8,22,24 24:1,4,5 25:2,9 26:1       pursuant 4:15                           repetition 21:7
  27:20 29:4,9,14 31:5,6
                                           put 20:15                               reporter 4:8 5:8 6:20
 percent 13:18 14:20 17:21 19:1,2,16
  23:19 27:16                                                                      reporting 4:11,18
                                                                Q
 percentage 31:7                                                                   represent 5:16
 permanent 25:1                            question 5:11 6:8,18,22                 representative 9:21 11:3 16:11 24:1
                                                                                    26:19 29:5
 person 4:14 13:23 16:7 17:7 20:15         QUESTIONED 3:4
  28:1 30:8                                                                        representatives 17:22
                                           questions 4:6 6:10,15 7:8,20,21 8:1
 personal 14:11,13,24                       14:7 18:4 25:10 33:10,12,13            Representing 2:5,10
 Personally 20:17                          quo 29:22                               requested 11:16 12:3 17:5,10,14
                                                                                    27:19
 Philadelphia 2:4
                                                                R                  required 11:15,16
 phone 14:11,13,16,17,24 15:1 16:19,
  24                                                                               reserve 5:12
                                           rag 20:19



www.LexitasLegal.com/Premier                              Lexitas
                                                                888-267-1200· · ·Index: observed–reserve
                                                                                         JA000670
     Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 131 of 132
                                      Carl Kerchner - March 23, 2022

 reserved 4:6                           sexual 28:16 29:7 30:14 31:11          stop 20:10
 resolution 30:10                       she'd 16:21                            stopped 24:17 25:18 26:19
 respective 4:2                         shift 24:20,24 25:1,3,6,7 26:7,10,15   stops 29:18
                                         31:24 32:9
 respond 6:19                                                                  straight 27:20
                                        shop 9:15 26:16
 responding 6:18                                                               straight-up 32:3
                                        SHORE 2:3
 rest 13:13                                                                    Street 2:9
                                        short 10:13,24 11:22
 result 21:12,18                                                               stuff 10:14,18 14:2 17:15 18:23 19:8
                                        shuffled 11:20                          24:5,22 29:1 31:15
 return 18:7,10,19 22:2
                                        shut 20:17                             sucked 20:15
 revolving 28:23
                                        side 15:14                             Suite 2:3,9
 rhyme 31:9
                                        sides 10:5                             sum 10:13
 ring 16:9
                                        sign 5:12 17:14                        supervisor 10:21 11:18,19,23 12:8
 Rivera 28:2
                                                                                28:21
                                        signing 4:3
 roles 9:22 10:4
                                                                               supervisors 11:22 29:3 31:6
                                        sir 5:19 8:21 32:13 33:14
 room 4:11 5:21,24 7:4 17:18 18:13,
                                                                               surgery 21:5
  16 19:12,14 22:14 23:3,7              sit 30:18
                                                                               sworn 5:3
 run 27:2                               site 15:5,8,9 16:11,12
 running 27:2                           sits 16:2
                                                                                                   T
 rush 22:1,3                            sitting 17:18 18:14
                                        situation 12:3,20 21:7                 table 18:13
                   S                                                           tables 12:6
                                        Skype 16:17,23
                                        slate 13:22                            talk 6:23 12:21 13:1,3,4 14:19 15:2
 sat 18:2,3,5 29:13,20
                                                                                22:4 23:20 25:10
 screaming 23:10                        small 7:4 18:15 23:7
                                                                               talked 25:14 29:10 32:11,14,17,20
 sealing 4:3                            South 2:9
                                                                               talking 6:21 12:19 18:17 23:7,8,11
 security 16:7                          speak 7:6
                                                                               tech 8:14,16
 send 10:23 22:24 29:2                  speaking 30:1,16
                                                                               TECHNICIAN 2:13
 seniority 26:16                        specifically 18:8 32:2
                                                                               telling 15:2
 seniors 26:14                          specifics 18:11
                                                                               tennis 21:9
 sensitivity 18:22                      split 20:19
                                                                               term 24:11
 separated 31:23                        splitting 21:3
                                                                               terms 16:3
 September 9:14                         standing 27:1
                                                                               Terrific 7:19
 serve 11:2                             started 9:16
                                                                               territory 25:11
 service 11:15                          stating 4:19
                                                                               testified 5:4
 session 6:9                            station 24:18 25:21 27:5
                                                                               testify 12:15
 set 11:17                              status 29:22
                                                                               thing 14:4 16:18 18:2,15 25:1 26:8
 sets 11:21                             stayed 13:5                             28:4,23

 setting 12:5                           stepped 13:4                           things 10:17,22 11:1 13:13 19:5 29:8
 severity 20:21                         stipulated 4:1                         thought 16:15 18:4
                                        stipulations 5:9



www.LexitasLegal.com/Premier                           Lexitas888-267-1200· · ·Index: reserved–thought
                                                                                       JA000671
      Case 5:21-cv-02500-JMG Document 25-3 Filed 04/11/22 Page 132 of 132
                                         Carl Kerchner - March 23, 2022

 tied 27:5                                 usual 5:8
                                                                                                  Y
 tight 18:16
                                                            V
 Tim 12:19 13:2 27:22,23                                                         year 32:12,15
 time 4:6 11:19 12:9,12,21,23 16:17        verbally 6:19                         years 15:9 21:1,16 25:9,22 32:12,16
  18:21 21:11,18,23 22:15 24:2,6 25:4,
  5,6,14,19 26:2,3,16 27:6 28:22 31:22     veterinarian 23:13,18
  32:18 33:11                                                                                     Z
                                           VIDEO 2:13
 times 16:13,16 27:20                      volume 19:5 27:17                     Zielke 2:13
 tiny 18:13                                                                      Zoom 6:6 33:18
 today 5:18 16:21 32:24 33:14                               W

 told 13:6,10 19:22,23 26:12               wait 6:21
 top 28:20                                 waiting 17:18
 trailer 15:16,20,22                       waive 4:17
 trainers 10:1 30:7                        waived 4:4
 transmission 8:18                         walk 15:21,23 16:4,5 24:14
 treat 21:17                               walked 20:19
 treated 29:10                             walking 16:3 24:18 25:15,21,23
 trial 4:7                                 wash 18:14
 truck 20:14,18                            watch 31:24 32:10
 Trucks 5:18 6:12 8:1,10,13 9:13,15        ways 14:22
  21:17,21 22:1 28:14 29:2,7 30:13,23
  31:1                                     wedding 11:18 12:4,7 13:4 27:19
 turn 20:20                                week 11:1 28:6
 turned 20:18                              weeks 28:8
 two-minute 15:23                          wheels 20:16
 type 18:15 28:23                          wise 16:3
                                           Wolf's 4:15
                    U
                                           wondering 7:3

 UAW 9:11,18                               word 15:1

 uncomfortable 29:14                       work 16:23 18:7,10,19 21:2 22:2
                                            24:18,22 25:21 27:5 31:16 32:15
 uncommon 17:12
                                           worked 20:17 28:3,9,11 32:18
 uncommonly 27:19
                                           worker 29:17 30:14
 understand 7:17,20 14:21
                                           working 9:11 16:22 17:7 20:9 26:4,
 understanding 30:22                        22
 Understood 13:24 22:12 23:12 28:1         Workman's 21:4
 union 9:9,15,18,22,24 10:2,6,7 11:2,      workplace 32:12
  24 14:23 24:6 25:18 26:19 28:8 29:5
  30:24                                    works 20:4

 upset 18:18 23:4                          wound 12:9,18 17:7 19:2 21:9 27:2
                                            28:7




www.LexitasLegal.com/Premier                             Lexitas            888-267-1200· · ·Index: tied–Zoom
                                                                                              JA000672
